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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

   Case No. CV 14-03053 MWF(VBKx)               Date: October 23, 2015
   Title:   Almont Ambulatory Surgery Center, LLC, et al. -v- UnitedHealth Group,
            Inc., et al.

   Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

             Relief Deputy Clerk:                     Court Reporter:
             Cheryl Wynn                              Not Reported

             Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
             None Present                             None Present

   Proceedings (In Chambers): ORDER GRANTING IN PART AND DENYING IN
                              PART PROVIDER COUNTER-DEFENDANTS’
                              MOTION TO DISMISS THE SECOND AMENDED
                              COUNTERCLAIM OR, IN THE ALTERNATIVE,
                              FOR PARTIAL SUMMARY JUDGMENT [168]

         Before the Court is the Provider Counter-Defendants’ Motion to Dismiss the
   Second Amended Counterclaim, or, in the Alternative, for Partial Summary Judgment
   (the “Motion”). (Docket No. 168). The Court read and considered the papers on the
   Motion, and held a hearing on September 17, 2015.

          For the reasons stated below, the Court GRANTS in part and DENIES in part
   the Motion. United adequately alleged that Providers made intentional and material
   misrepresentations in its submitted claims to United. While the Court acknowledges
   the incongruities in the individual claim lines contained in Appendix I of the Second
   Amended Counter Claim (“SACC”), such deficiencies are insufficient to defeat the
   allegations at this stage of the proceedings. The Court further concludes that ERISA
   does not preempt United’s state law claims, as they do not interfere with the objects of
   the federal regulation. United, moreover, has sufficiently pleaded claims for equitable
   relief under ERISA. Finally, although United does have Article III standing, it may not
   bring a UCL claim on behalf of the self-funded plans under California law.

   I.    BACKGROUND

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          On March 21, 2014, Plaintiffs initiated the Removed Action by filing a
   Complaint in the Los Angeles Superior Court. (Removed Action Docket No. 1, Notice
   of Removal, Ex. A). On April 21, 2014, Defendants removed the action to this Court.
   (Id.).

          On May 15, 2014, the Court issued an Order to Show Cause Re: Jurisdiction (the
   “OSC”) Docket No. 27), to which the parties responded on June 5, 2014 (Docket Nos.
   34, 35). The Court then issued an Order Discharging the OSC on June 16, 2014
   (Removed Action Docket No. 38), in which the Court exercised its own judgment and
   agreed with the parties’ reasoning that the Complaint’s claim for declaratory relief was
   completely preempted by ERISA, thereby conferring federal jurisdiction over the
   action.

         A.     Complaint and First Amended Counterclaim

         Plaintiffs in this action consist of: (1) nine ambulatory surgery centers that
   provide Lap-Band surgeries and services; and (2) Independent Medical Services, Inc.,
   which is a physicians’ medical group. (Compl. ¶¶ 16, 44-45).

          Defendants include: (1) UnitedHealth Group, Inc., a health insurance company
   that allegedly does business in California through its subsidiaries; (2) UnitedHealthcare
   Insurance Company; and (3) United HealthCare Services, Inc. (Id. ¶¶ 46-48).
   Defendant OptumInsight, Inc. (also called “Optum” or “Ingenix”) is also a wholly-
   owned subsidiary of UnitedHealth, and served as a “Special Investigations Unit” for
   the claims at issue. (Id. ¶¶ 49, 81). The Complaint refers to these four Defendants
   collectively as “United” or the “United Defendants.” (Id. ¶ 51). The Complaint
   alleges that “United is one of the nation’s largest health insurers,” “[i]t underwrites and
   issues thousands of health insurance plans,” and “also contracts with other entities that
   provide health benefits in order to provide administrative services for those entities’
   health plans, such as claim pricing.” (Id. ¶ 52).


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         The Complaint asserts claims for violation of the California Business and
   Professions Code section 17200 et seq. (the “UCL”), breach of implied-in-fact
   contracts, services rendered, estoppel, and declaratory relief. (Id.). The general
   conduct alleged in the Complaint involved United’s purported failure to properly pay
   claims submitted by the Plaintiffs, out-of-network providers, through the use of
   pretextual responses to claim submissions.

           On September 3, 2014, United filed a First Amended Counterclaim (“FACC”).
   (Removed Action Docket No. 45), adding several Counterclaim Defendants to the
   litigation, including Dr. Michael Omidi (“Michael Omidi”) and Kambiz Benjamin
   Omidi (a.k.a. Julian Omidi, Combiz Omidi, Kambiz Omidi, Combiz Julian Omidi,
   Kambiz Meniamia Omidi, Julian C. Omidi) (“Julian Omidi”) (when referencing the
   FACC, Michal and Julian Omidi are collectively referred to as the “Omidis”), as well
   as ambulatory surgical centers (including those named as Plaintiffs, as well as
   additional surgery centers), an additional billing entity, several “Top Surgeons”
   entities, and “1-800-Get-Thin.” (FACC ¶¶ 15-44).

         In the FACC, United alleged that it:

               [I]s an insurer and third party claims administrator for employer
               group health plans, which are sponsored by employers and
               provide health benefits to their covered employees and
               dependents. The health plans sponsored by private employers
               are governed by ERISA, 29 U.S.C. § 1001 et. seq (the “ERISA
               Plans”), while those sponsored by governmental employers and
               certain religious organizations are exempted from ERISA’s
               jurisdiction. United provides insurance and/or administrative
               services to these employer-sponsored health plans, including
               (subject to the terms of the individual’s plan and associated
               agreements) the processing of claims for reimbursement of
               medical services provided to the individuals covered by these
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               benefit plans (“United members”). For the United Plans that
               are insured directly by United (“insured plans”), benefit
               payments are made from United’s own funds. For those self-
               funded benefit plans for which United acts only as claims
               administrator, and not insurer, benefit payments are made from
               plan funds provided by the employer-sponsor of the self-funded
               plans. United’s contractual agreements with the employer-
               sponsors of such self-funded plans typically specifically grant
               United the authority to recover overpayments, including
               through litigation, on behalf of the self-funded plans.

   (FACC ¶ 51).

          Pursuant to United’s role with respect to the various plans at issue, the FACC
   asserted claims for fraud, violation of the UCL, conspiracy to commit fraud, intentional
   interference with contractual relationships, restitution under ERISA § 502(a)(3), and
   declaratory and injunctive relief under ERISA § 502(a)(3). (Removed Action Docket
   No. 45). The FACC alleged that Counterclaim Defendants are conspiring to defraud
   the public and United out of millions of dollars. (FACC ¶ 62). This conspiracy is
   purportedly hidden through the use of sham/shifting business names. (Id. ¶ 126). The
   activities underlying the conspiracy are generally alleged to be “various fraudulent
   practices designed to manipulate United to pay for services that were not medically
   necessary, never provided, or not covered by the terms of the United Plans.” (Id. ¶ 68).
   The specific malfeasance alleged included: inducing patients to receive Lap-Band-
   related treatment through, among other things, improperly waiving copay, coinsurance,
   deductibles amounts (collectively, “co-pay”) (id. ¶ 66); mischaracterizing Lap-Band
   procedures provided by billing under incorrect CPT codes, hiding services that would
   not have otherwise been covered, or misrepresenting patients’ BMI calculations (id. ¶
   68); and submitting inflated bills to United in an attempt to induce United to allow
   payment in excess of UCR (id. ¶ 275).

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         Julian and Michael Omidi are alleged to exercise control over the provider
   network, and have purportedly established hundreds of corporate entities to “conduct
   and conceal the fraudulent activities” alleged in the FACC. (See, e.g., id. ¶¶ 71-72).

           B.   Motions to Dismiss FACC

          On October 3, 2014, the Counterclaim Defendants filed Motions to Dismiss the
   First Amended Counterclaim (collectively, the “Motions to Dismiss the FACC”).
   (Docket Nos. 46, 48). On October 31, 2014, United filed Oppositions to the Motions
   to Dismiss the FACC. (Docket Nos. 63, 65). On November 14, 2014, the
   Counterclaim Defendants filed their Replies (Docket Nos. 77, 78).

          On February 12, 2015, the Court entered Orders granting in part and denying in
   part the Motions to Dismiss the FACC. (Docket Nos. 144, 145). In relevant part,
   while the Court concluded that United had alleged viable fraud theories, it ruled that
   United had failed to allege fraud with the requisite specificity. The Court also
   concluded that United’s state law claims were not preempted by ERISA, and that
   United had failed to sufficiently demonstrate that the discovery rule or tolling
   mechanisms saved claims which manifestly (from the face of the FACC) fell outside of
   the relevant statutes of limitations. Further, the Court ruled that United had failed to
   demonstrate that it had standing to assert UCL or intentional interference claims on
   behalf of self-funded plans. The Court also concluded that the FACC contained
   sufficient alter ego allegations as to the Omidis.

           C.   Second Amended Counterclaim

           On April 30, 2015, United filed the SACC. (See Removed Action Docket No.
   152).

          Among the named SACC Defendants are Julian and Michael Omidi, as well as
   their mother, Cindy Omidi (a.k.a. Nahid Omidi, Nahid Pezeshk, Cindy Pezeshk)
   (“Mrs. Omidi”). (SACC ¶¶ 22-25). Also named among the SACC Defendants are
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   several ambulatory surgical centers (including those named as Plaintiffs, as well as
   additional surgery centers), billing entities (including one named as a Plaintiff), several
   “Top Surgeons” entities, “1-800-Get-Thin,” and an offshore captive insurance
   company. (Id. ¶¶ 26-58). The SACC refers to the Counter-Defendants other than Mrs.
   Omidi, Michael Omidi, and Julian Omidi as the “Corporate Counterclaim Defendants.”
   (Id. ¶ 60). The SACC also refers to the “network of corporate entities, health care
   providers, employees, administrators, agents, and co-conspirators” described
   throughout the SACC as the “Omidi Network.” (Id. ¶ 22). For clarity, this Order will
   refer to the Counter-Defendants bringing the Motion as “Providers.”

          Pursuant to much the same underlying conduct alleged in the FACC, the SACC
   asserts claims for fraud, violation of the UCL, conspiracy to commit fraud, intentional
   interference with contractual relationships, conversion, restitution under ERISA §
   502(a)(3), and declaratory and injunctive relief under ERISA § 503(a)(3). (Id. ¶¶ 446-
   524).

          As will be relevant to the analysis below, the SACC notes that for insured (or
   “fully-insured”) plans, “United will resolve claims and will make benefit payments
   from its own Assets,” and for self-funded plans, “once United has determined that a
   claim is payable under the relevant group-health plan, United is authorized to cause
   payments to be made from the self-funded customer’s assets.” (Id. ¶¶ 62, 64).
   Moreover, United “provides administrative services to self-funded group health plans
   (both under ERISA and otherwise),” which it does “pursuant to Administrative
   Services Agreements (‘ASA’) between United and the health plan’s sponsor (usually
   an employer), which identify the rights and obligations of each party.” (Id. ¶ 63).

         On June 25, 2015, Provider Counter-Defendants filed this Motion. On July 14,
   2015, three remaining Counter-Defendants filed a Joinder in the Motion. (Docket No.
   175). On July 29, 2015, United filed an Opposition to Providers’ Motion to Dismiss
   the Second Amended Counterclaim (the “Opposition”). (Docket No. 184). On August


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   13, 2015, Providers filed a Reply Brief in Support of Motion to Dismiss, or, in the
   Alternative, for Partial Summary Judgment (the “Reply”). (Docket No. 199).

   II.   MOTION TO DISMISS

         Providers bring the Motion pursuant to Federal Rules of Civil Procedure 9(b),
   12(b)(1) and 12(b)(6).

          In ruling on a motion under Federal Rule of Civil Procedure 12(b)(6), the Court
   follows Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal,
   556 U.S. 662 (2009). “To survive a motion to dismiss, a complaint must contain
   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on
   its face.’” Iqbal, 556 U.S. at 678 (citations omitted). “‘All allegations of material fact
   in the complaint are taken as true and construed in the light most favorable to the
   plaintiff.’” Williams v. Gerber Prods. Co., 552 F.3d 934, 937 (9th Cir. 2008) (quoting
   Stoner v. Santa Clara Cnty. Office of Educ., 502 F.3d 1116, 1120 (9th Cir. 2007))
   (holding that a plaintiff had plausibly stated that a label referring to a product
   containing no fruit juice as “fruit juice snacks” may be misleading to a reasonable
   consumer).

          Federal Rule of Civil Procedure 9(b) requires that “a party [alleging fraud] must
   state with particularity the circumstances constituting fraud.” To satisfy Rule 9(b), a
   plaintiff must include “the who, what, when, where, and how” of the fraud. Vess v.
   Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (internal quotation marks
   and citations omitted). “A motion to dismiss a complaint or claim ‘grounded in fraud’
   under Rule 9(b) for failure to plead with particularity is the functional equivalent of a
   motion to dismiss under Rule 12(b)(6) for failure to state a claim.” Id. at 1107. As
   such, dismissals under Rule 9(b) and 12(b)(6) “are treated in the same manner.” Id. at
   1107-08.

         In ruling on a motion under Federal Rule of Civil Procedure 12(b)(1), the Court
   must determine whether it lacks subject matter jurisdiction over the Complaint or any
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   claims therein. “A jurisdictional challenge under Rule 12(b)(1) may be made either on
   the face of the pleadings or by presenting extrinsic evidence.” Warren v. Fox Family
   Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003) (citing White v. Lee, 227 F.3d
   1214, 1242 (9th Cir. 2000)) (evaluating whether a composer had standing to pursue
   copyright claims against a producer and distributors).

         A.     Fraud

          The Ninth Circuit has stated that “[t]o comply with Rule 9(b), allegations of
   fraud must be ‘specific enough to give defendants notice of the particular misconduct
   which is alleged to constitute the fraud charged so that they can defend against the
   charge and not just deny that they have done anything wrong.’” Bly-Magee v.
   California, 236 F.3d 1014, 1019 (9th Cir. 2001) (quoting Neubronner v. Milken, 6 F.3d
   666, 672 (9th Cir.1993)). “Rule 9(b) does not allow a complaint to merely lump
   multiple defendants together but ‘require[s] plaintiffs to differentiate their allegations
   when suing more than one defendant . . . and inform each defendant separately of the
   allegations surrounding his alleged participation in the fraud.’” Swartz v. KPMG LLP,
   476 F.3d 756, 764-65 (9th Cir. 2007) (quoting Haskin v. R.J. Reynolds Tobacco Co.,
   995 F. Supp. 1437, 1439 (M.D. Fla. 1998)).

          For a fraud claim against several defendants, “a plaintiff must, at a minimum,
   ‘identif[y] the role of [each] defendant[ ] in the alleged fraudulent scheme.’” Swartz,
   476 F.3d at 765 (quoting Moore v. Kayport Package Express, Inc., 885 F.2d 531, 541
   (9th Cir.1989)). Allegations that “everyone did everything” are insufficient. Destfino
   v. Reiswig, 630 F.3d 952, 958 (9th Cir. 2011) (finding that the district court properly
   dismissed a second amended complaint with prejudice when a plaintiff had been given
   three opportunities to comply with Rule 9(b), and yet continually failed to “set out
   which of the defendants made which of the fraudulent statements/conduct”).

         In Swartz, the Ninth Circuit evaluated allegations of fraud in the context of a
   conspiracy. The Swartz complaint contained “several allegations detailing the time,
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   place, and content of representations made by” certain of the defendants, but contained
   nothing other than generalized allegations as to the roles of other defendants in the
   purported conspiracy. Swartz, 476 F.3d at 764-65. The court held that the complaint’s
   allegations that “‘defendants’ engaged in fraudulent conduct,” without specification of
   the misconduct attributed to particular defendants, failed satisfy Rule 9(b) as to those
   defendants. Id. at 765. The Ninth Circuit did, however, provide leave to amend,
   because it could not “say on de novo review that the pleading ‘could not possibly be
   cured by the allegation of other facts.’” Id. (quoting Bly-Magee, 236 F.3d at 1019).

               1. Roles of Counter-Defendants

          Providers argue that “the SACC does not contain any substantive allegations
   relating to at least Counter-Defendants East Bay Ambulatory Surgery Center, Palmdale
   Ambulatory Surgery Center, and Woodlake Ambulatory,” and therefore request that
   these Counter-Defendants, along with any others for whom United has not adequately
   pleaded fraud, be dismissed. (Mot. at 2-3).

         United, however, contends that it “has alleged claims against East Bay
   Ambulatory Surgery Center, Palmdale Ambulatory Surgery Center, and Woodlake
   Ambulatory.” (Opp. at 11). Specifically, United alleges that “Woodlake is the
   predecessor to Valley Surgical Center, (SACC ¶ 52), and that United paid significant
   claims to each of these three Surgery centers, including $936,952 to Woodlake (id.);
   $38,242 to Palmdale (id. ¶ 43); and $125,026 to East Bay (id. ¶ 38).” (Opp. at 12).
   United also points out that Appendix I “identif[ies] various members treated at East
   Bay (12), Palmdale (9), and Woodlake (22).” (Id.).

          Such allegations are sufficient to provide East Bay, Palmdale, and Woodlake
   notice of their role in the claimed fraud. Indeed, United identifies the plan members
   whose co-pay was waived at those facilities, which, as discussed further below,
   purportedly led to inflated amounts United paid on the submitted claims. The Court


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 therefore declines to dismiss the SACC as to East Bay, Palmdale, and Woodlake on
 this basis alone.

              2. Rule 9(b) Heightened Pleading

                    a. Exemplar Claims Listed in SACC

       Providers note that “[t]he SACC alleges discrete instances of fraud upon United,
 such as services that were supposedly billed even though they were not provided,
 supposed alterations to the patient body mass index (BMI) measurements that were
 submitted to United, and supposed failures to disclose that a lap band surgery was
 performed at the same time as other surgeries.” (Mot. at 2). Plaintiffs state that they
 “vigorously dispute the veracity of these accusations, and will disprove them during
 discovery and at trial.” (Id.).

        United argues that, based on this language, “[t]he Providers’ brief begins with an
 explicit concession that United has complied with Fed. R. Civ. P. 9(b) with respect to
 the 40 individual patient examples found in SACC ¶¶ 105-384.” (Opp. at 1-2 (citing
 Mot. at 2)). United contends that “[t]hrough these examples, United alleges numerous,
 specific instances in which Providers used a variety of fraudulent schemes to obtain
 payments from United.” (Id. at 2). Consequently, United posits that:

              Given the Providers’ concession that those 40 examples comply
              with Rule 9(b), the SACC clearly states a claim with respect to
              Counts I-V. The Providers do not argue otherwise. Rather,
              they seek a preemptive ruling that Counts I-V should be limited
              to those 40 examples, but Rule 9(b) does not require that United
              include every example of a fraudulent claim. Rather, courts,
              including the Ninth Circuit, recognize that a party pleading an
              extensive scheme to defraud need not “allege all facts
              supporting every instance when the defendant engaged in
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              fraud.” Fustok v. UnitedHealth Grp., Inc., 2013 WL 2189874,
              at *5 (S.D. Tex. May 20, 2013) (internal citation omitted);
              Wool v. Tandem Comps., Inc., 818 F.2d 1433, 1439 (9th Cir.
              1987) (overruled on other grounds). Thus, in cases involving
              an ongoing conspiracy to commit fraud occurring over multiple
              transactions over a period of years, Rule 9(b) does not require a
              complete recitation of every alleged fraudulent transaction. See
              Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997). Rule 9(b)
              is not designed to “carry more weight than it was meant to
              bear.” Id.

 (Id. at 3 (footnote omitted)). United notes that it did not cite to Cooper, Wool, or a
 case cited in a footnote in the Opposition, Berson v. Applied Signal Tech., Inc., 527
 F.3d 982, 989-90 (9th Cir. 2008) (see Opp. at 3 n. 3), “in the earlier briefing on the
 sufficiency of United’s original Counterclaim, because Providers made only scant
 mention of Rule 9(b)” (id. at 4).

        In Cooper, individuals who had purchased stock in a wholesale computer
 distributor, Merisel, Inc. (“Merisel”) brought a class action against the corporation,
 corporate officers and directors of the corporation, and the corporation’s accountants
 and underwriters, alleging violation of securities laws. Cooper, 137 F.3d at 620-21.
 The thrust of the scheme alleged was that:

              Merisel officers, who communicated regularly with securities
              analysts, told the analysts that Merisel’s business was strong
              and that [an acquisition] in early 1994 would increase Merisel’s
              earnings per share. The analysts then repeated those
              representations in their favorable reports. Merisel then
              endorsed the reports by distributing them to potential investors,
              who relied on the favorable reports. Merisel also faxed an

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             internal forecast of increasing 1994 earnings to a securities
             analyst.

             In their regular conference calls with securities analysts,
             Merisel’s officers predicted that the . . . acquisition would boost
             Merisel’s 1994 earnings, that demand was strong, and that
             Merisel’s international operations were stabilizing and could be
             expected to be profitable in 1994. The analysts echoed these
             positive assessments in their reports.

 Id. at 620. The complaint alleged that “all these statements were false”: “[d]emand
 was softening, the profitability of the company’s core business was under severe
 pressure from price-cutters, the European operations were still weak, international
 operations continued to lose money, and the . . . acquisition would hurt Merisel’s 1994
 earnings.” Id. The complaint also alleged that “SEC regulations create a duty to
 disclose the adverse information defendants concealed.” Id.

        The Ninth Circuit concluded, faced with arguments that claims of improper
 revenue recognition failed to satisfy Rule 9(b), that “the complaint identified who
 (eight of Merisel’s customers), what (four types of improper revenue recognition),
 when (last two quarters of 1993 and first quarter of 1994), and where (reported in
 financial statements). Id. at 627. Moreover, “[t]he complaint alleged that Merisel
 misled by inflating its revenues by specific amounts, and by falsely claiming that its
 revenue recognition policy was stricter than it really was (‘how’).” Id. The Ninth
 Circuit found that “[i]t [was] not fatal to the complaint that it [did] not describe in
 detail a single specific transaction (i.e. shipment) in which Merisel transgressed as
 above, by customer, amount, and precise method” and “decline[d] to require that a
 complaint must allege specific shipments to specific customers at specific times with a
 specific dollar amount of improperly recognized revenue.” Id.


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        In Wool, a stock purchaser brought a class action on behalf of himself and a
 class of others similarly situated against a corporation, Tandem Computers
 Incorporated (“Tandem”), and corporate officers, “to recover damages for alleged
 fraud and breach of fiduciary duties in violation of federal securities law and California
 common law.” Wool, 808 F.2d at 1435. The complaint alleged that “Tandem and the
 individual defendants had utilized improper accounting practices and issued public
 reports which overstated the profits of Tandem and which, in turn, artificially inflated
 the market price of Tandem securities.” Id. The class members were alleged to have
 “purchased Tandem stock during the alleged inflation.” Id.

        The individual defendants had argued that the complaint failed to satisfy Rule
 9(b) because it failed “to attribute particular fraudulent statements or acts to each
 individual defendant.” Id. at 1440. The Court held that “[i]n cases of corporate fraud
 where the false or misleading information is conveyed in prospectuses, registration
 statements, annual reports, press releases, or other ‘group-published information,’ it is
 reasonable to presume that these are the collective actions of the officers.” Id. “Under
 such circumstances,” the court noted, “a plaintiff fulfills the particularity requirement
 of Rule 9(b) by pleading the misrepresentations with particularity and where possible
 the roles of the individual defendants in the misrepresentations.” Id. The court found
 these requirements satisfied, as “[t]he individual defendants [were] a narrowly defined
 group of officers who had direct involvement not only in the day-to-day affairs of
 Tandem in general but also in Tandem’s financial statements in particular.” Id.

        Finally, in Berson, investors filed a class action suit against a telecommunication
 company, Applied Signal Technology, Inc. (“Applied”), and its officers, alleging
 violations of Securities Exchange Act § 10(b) and Rule 10b–5. Berson, 527 F.3d at
 984. Applied’s “customers [were] almost all agencies of the federal government,” and
 Applied only [got] paid for work performed; therefore, when the government issue[d] a
 “stop-work order,” Applied no longer could earn money. Id. The suit sought losses
 investors allegedly incurred due to Applied’s misleading practice of counting stopped
 work as part of “backlog” (“a term the company defines as the dollar value of the work
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 it has contracted to do but hasn’t yet performed”), without disclosing that backlog
 included tens of millions of halted contract work that was the subject of stop-work
 orders. Id.

       In discussing “particular causes of loss,” the Ninth Circuit assumed, without
 deciding, that Rule 9(b) applied, and held that “the complaint describes the [stop-work]
 orders in sufficient detail to give defendants ample notice of plaintiffs’ loss causation
 theory, and to give . . . some assurance that the theory has a basis in fact.” Id. at 989-
 90. The court noted that “Rule 9(b) requires no more.” Id.

        At the hearing, counsel for Providers argued that this authority is limited to the
 realm of securities regulations. Although the Court is unpersuaded that a more lenient
 Rule 9(b) analysis applies to claims under Rule 10b-5 than state fraud statutes, the
 cited case law is indeed distinguishable. For example, unlike in Wool, the alleged false
 or misleading information here was not “conveyed in prospectuses, registration
 statements, annual reports, press releases, or other ‘group-published information.’”
 Wool, 808 F.2d at 1440. Instead, the claimed fraudulent practices constitute distinct
 events that require inquiry into the individual circumstances of each Plan Member.
 More specific allegations are thus required to provide notice of all alleged instances of
 misconduct.

        The Court, nonetheless, is mindful of the general principal expressed in the cited
 case law. When the allegations involve a large conspiracy to commit fraud over
 thousands of transactions and a period of many years, it is neither practical nor
 required to plead in detail every instance of misrepresentation. Cooper, 137 F.3d at
 627; see Nutrishare, Inc. v. Connecticut Gen. Life Ins. Co., No. 2:13-CV-02378-JAM-
 AC, 2014 WL 1028351, at *4 (E.D. Cal. Mar. 14, 2014) (“When dealing with
 thousands of instances, it is often the case that a complaint or counterclaim laying out
 each and every misrepresentation in detail would provide less effective notice and be
 less useful in framing the issues than would a shorter, more generalized version.”)
 (internal quotation marks and citations omitted). United describes with great
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 specificity the schemes Counter-Defendants used to allegedly defraud United with
 respect to 40 individual Plan Members. (SACC ¶¶ 105-384). United then alleges that
 the same fraudulent practices applied to the “hundreds or thousands of other patients.
 (Opp. at 3; SACC ¶¶ 92-101, 128, 154, 186, 204, 221). Such allegations are
 sufficiently particular to provide notice of the types of fraud at issue in this action.
 Indeed, it is quite likely that neither Counter-Defendants nor this Court would benefit
 from United describing the thousands of alleged misrepresentations with the same
 specificity used in the 40 examples. Nutrishare, 2014 WL 1028351 at *4 (“Although
 the Counterclaim does not specify each and every [purportedly fraudulent] transaction,
 such particularity is [not required even under the heightened pleading requirements of
 Rule 9(b)].”). The SACC thus satisfies the requirements of Rule 9(b).

       The Court recognizes, however, that the issue is a close one. As such, the Court
 continues to analyze the adequacy of the claims presented in Appendix I of the SACC
 and United’s co-pay waiver theory of fraud.

                    b. Claims in Appendix I

        Providers argue that the recoupment claims listed only in Appendix I and not the
 SACC itself should be dismissed for failure to comport with Rule 9(b). (Mot. at 2-5).
 Providers observe that for all of the claim lines not set forth in the body of the SACC
 or in Appendix II, “the sole theory of fraud alleged for all remaining recoupment
 claims, including the nearly 30,000 claim lines set forth in Appendix I to the SACC, is
 the alleged waiver of patients’ co-pay and deductible obligations.” (Id. at 3).
 Providers assert that United has alleged these co-pay waiver claims in only a
 conclusory way. (Id.).

         United, however, argues that “Appendix I to the SACC properly alleges under
 Rule 9(b) that Providers waived Member Responsibility Amounts to 2,000 individuals
 listed therein.” (Id. at 7).

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        The Court previously concluded that the FACC contained “generalized
 allegations that all of the Counterclaim Defendants participated in fraudulent conduct,”
 which was insufficient to state a claim for fraud. (See Docket No. 144 at 17-19). The
 Court observed that United could not “generally assert that everyone did everything on
 the basis of the examples it presented without specifying the roles that each
 Counterclaim Defendant played in carrying out the purported fraud.” (Id.).

        The Court noted that it would not advise United as to how it may fulfill the
 requirements imposed by Rule 9(b), but it provided “the following examples of the
 types of allegations that appeared to be lacking from the FACC and Appendix I: the
 category or categories of misrepresentations alleged with respect to each claim line; the
 relevant Counterclaim Defendants implicated in each purported claim line; and the date
 of claim submission for each claim line.” (Id. at 19).

                          i.    Categories of Fraud

        With respect to the SACC, Providers argue that “Appendix I . . . fails to specify
 ‘the category or categories of misrepresentations alleged with respect to each claim
 line.’” (Mot. at 3). United, however, points out that “the very title of Appendix I
 indicates that the chart identifies individuals who received a ‘Waiver of Member
 Responsibility Amounts,’” thereby identifying the category of fraud at issue for these
 claims. (Opp. at 7-8).

       The Court agrees that United has identified the category of fraud at issue for the
 claim lines in Appendix I, as argued in the Opposition.

                         ii.    Consideration of Unredacted Appendix I

       Providers assert that:



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             United appears to have added two new columns to Appendix I:
             (i) the date on which United received a reimbursement form
             from Providers; and (ii) the date on which United paid each
             claim. United has also added two new columns in addition
             to the amount charged and the amount paid on each claim:
             “deductible” and “copay.” However, in the publicly filed
             version, both these columns, as well as the “charges” and
             “paid” columns for each claim, are blank. As a result, United
             has provided even less information in the SACC than it did in
             the FACC. Appendix I to the FACC identified amounts
             charged and paid. In contrast, the SACC’s Appendix I redacts
             such information.

 (Id. (emphasis in original)). Providers note that United moved ex parte to file an
 unredacted copy of the SACC under seal on June 22, 2015 (which was two months
 after the deadline for filing of the SACC)—the Court granted the request on June 24,
 2015, which was two days prior to the deadline for the Motion. (Id. at 4). Providers
 argue that “[g]iven the extensive nature of the redactions in both the body of the SACC
 and the Appendix, and the nearly two months that have elapsed, the additional
 information contained in the confidential version cannot be considered for purposes of
 this motion to dismiss.” (Id. (footnote omitted)).

        The parties do not dispute that the Plaintiffs were provided with “a complete
 version of the Appendix . . . shortly after the SACC was filed.” (See Mot. at 4 n. 1
 (citing Declaration of Eric D. Chan (“Chan Decl.”) (Docket No. 168-18) ¶ 10; Opp. at
 8 n. 6). Indeed, it appears from the Chan Declaration that “[o]n May 1, 2015, [the day
 after the SACC was filed (see Docket No. 152),] counsel for United provided
 ‘unredacted’ versions of the SACC and its Appendices via e-mail.” (Chan Decl. ¶ 9).
 The Chan Declaration notes that the version sent on May 1, 2015 did not include
 patient names and was labelled as “CONFIDENTIAL – NOT FILED IN COURT.”
 (Chan Decl. ¶ 10). Mr. Chan further describes his communication with counsel for
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 United on June 4, 2015 to procure a copy of Appendix I with patient names included,
 which was provided on June 10, 2015 (Chan Decl. ¶ 11), and a discussion on June 17,
 2015 during which it was mentioned that one of the grounds for Providers’ pending
 motion to dismiss would be that the filed version of Appendix I contained blank
 columns (Chan Decl. ¶ 12). Mr. Chan observes that an unredacted version was filed
 shortly thereafter, but contends that at the time of the filing, “United had not yet
 provided to the Providers any courtesy copy of the filing that it made under seal,”
 which prevented them from determining whether the filed versions comported with the
 versions sent on May 1, 2015. (Chan Decl. ¶¶ 13-14).

         Although the Court notes the delay in filing the unreacted version under seal, it
 observes that Providers were provided with an unredacted version the day after the
 SACC was filed. To the extent there are inconsistencies between the version provided
 on May 1, 2015 and the version filed under seal, which the Court has been given no
 reason to suspect is the case, the Court will address any such identified inconsistencies
 at a later date. For the moment, however, the Court does not discount the information
 provided in the unredacted columns of Appendix I.

                        iii.   Rule 9(b) and the Contents of the SACC and Appendix I

         United contends that the SACC contains far more information than the Court
 had previously identified as lacking. (Opp. at 7). Specifically, the SACC itself alleges
 that “‘Counterclaim Defendant Surgery Centers waived complete Member
 Responsibility Amounts for at least 96% of claims submitted,’” (id. (quoting SACC ¶
 95)), “and that the Providers effectively admitted this was so for at least 200 members”
 (id. (citing SACC ¶ 96)). Moreover, Appendix I is “a spreadsheet that identifies 2,024
 members and 29,617 claim lines,” and “[e]ach claim within Appendix I identifies:
 member name; provider name and taxpayer identification number; date of service;
 billed procedure’s CPT code; billed amount; amount paid; member’s deductible and
 co-payment obligations; bill received date; paid date; and the status of the health
 benefit plan as self-funded or fully insured.” (Id.).
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         The Court was previously concerned that the FACC inadequately alleged fraud
 by providing a limited number of detailed examples as to the types of fraud alleged,
 and then extrapolating these examples to all Counter-Defendants through an
 impermissible “everyone did everything” theory. (See Docket No. 144 at 19). As
 discussed above and below, United has now at least provided line item allegations for
 all of the Counter-Defendants, and has tied those allegations to the particular category
 of fraud alleged with respect to the claim line, such that the Counter-Defendants have
 notice of the allegations against them. Due to these and other amendments delineating
 the roles of particular Counter-Defendants in the alleged misconduct, the Court’s prior
 concerns have been satisfactorily addressed in the SACC.

                        iv.   Line Item Objections

        Providers contend that the unredacted information reveals that: “United charged
 no co-pay whatsoever on roughly half of the claims”; “[m]any claim lines contain
 negative co-pays and negative charges”; “[w]here the co-payment amount is a positive
 number, it is sometimes as small as one cent on submitted bills for thousands of
 dollars”; “[t]he majority of supposed co-payment and deductible amounts are irregular
 amounts that the Providers would not have been able to calculate prior to submitting
 their reimbursement claims to United, given their lack of access to the plan
 documents”; and “[t]here is sometimes more than one claim line for a single payment,
 or duplicate lines for the same service with different ‘paid dates.’” (Mot. at 4
 (emphasis removed)). Providers state that such deficiencies indicate a failure of even
 the unredacted Appendix I to meet Rule 9(b)’s requirements. (Id.).

        United, however, contests Providers’ specific challenges to Appendix I as
 follows: “the Providers’ challenges to the individual line items in Appendix I fail to
 undermine its accuracy” because “the Providers challenge a small number of claims on
 Appendix I—and thus conflate Rule 9(b)’s pleading requirements with evidentiary
 issues to be explored during discovery” (id. at 8 (citing Cooper, 137 F.3d at 627));

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 Providers challenges to lines that have no deductible or co-pay amount are without
 merit because, even if certain claim lines do not have deductibles, “United has alleged
 that some portion of each of the 2,000 patients’ services required Member Responsibly
 payments” and, further, “without the Providers’ alleged and verified wrongdoing,”
 particular patients “would not have received any services from the Providers, and none
 of the amounts paid by United relating to” the patients would have been paid (id. at 9);
 “Providers’ assertion that a small number of Appendix I’s lines include a negative
 number is also unavailing” because “[i]n nearly every instance, the [negative] amount
 fully offsets a positive amount, with no net impact on the amounts listed” (id. (footnote
 omitted)); and, finally, as to co-pay amounts as small as $.01 or more than one claim
 line for a single payment, United contends that “Providers do not explain how any of
 these things, however rare, bear upon the sufficiency of United’s allegations, which is
 the issue presented on a motion to dismiss” (id. at 10 (footnote omitted)).

        The Court agrees with United that the identified incongruities in the specific
 claim lines are insufficient to defeat United’s allegations of fraud. As a whole,
 Appendix I provides sufficient detail to cure the deficiencies identified in this Court’s
 Order dismissing the FACC. It puts Providers on notice of (1) what type of
 misrepresentation is alleged with respect to each submitted claim; (2) who made each
 misrepresentation; (3) when the misrepresented claims were submitted to United; and
 (3) how those submissions impacted United. It may be that individual claim lines are
 problematic, as Providers exhort. But such issues are not properly determined at this
 stage of litigation. Existing allegations as to Providers’ knowing submission of false
 claims are sufficient to move this action to discovery, and after sufficient evidence is
 gathered with respect to the claims and patients involved in this action, the parties may
 properly brief the objections Providers now raise (if any still remain).

       Even United concedes, however, that there are 172 patients for whom no copay
 or deductible is listed. (Opp. at 9, n. 8). The Court agrees with providers that United
 cannot plausibly recover for overpayments as to those patients since no overpayments

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 have been made in the first place. United is therefore ORDERED to withdraw claims
 relating to those patients from the SACC and Appendix I.

              3. Co-Pay Waiver Theory and Elements of Fraud

                    a. Statements Made to Patients as Opposed to United

        Providers argue that United cannot recover for misrepresentations made to
 patients, rather than to United. (Mot. at 5-6). Providers contend that “[r]ather than
 bolster the allegations relating to the fraud upon United, the SACC simply adds
 allegations about how patients were supposedly deceived by various individuals acting
 on behalf of the Providers.” (Id. at 5). Further, Providers argue that United’s
 allegations demonstrate that the relevant patients are capable of recovering for
 misrepresentations made to them, as evidenced by the fact that “United Member 8 has
 independently brought two lawsuits against some of the Counter-Defendants in this
 case, and that her allegations in one of the lawsuits alleges the same theory of fraud as
 in the SACC, e.g., misrepresentations about coverage.” (Id. at 6 (citing SACC ¶ 126)).

         United, in contrast, argues that “[t]he SACC alleges that the Providers deceived
 hundreds of patients into believing that they had coverage for Lap Bands, only later to
 tell them that United had changed its mind once they had undergone costly preparatory
 medical procedures.” (Opp. at 10 (citing SACC ¶ 105-222)). “As alleged in the
 SACC, after lying in this manner to [for example] United Member 8 and other patients,
 and after performing and billing for services such as EGDs and sleep studies that were
 supposedly required for the Lap Band surgery, [SACC] ¶¶ 118, the Providers obtained
 payments from United for services that were not covered under patients’ health plans
 and would not have been procured absent these lies.” (Opp. at 10). United argues that
 it “properly alleges that this practice constituted common law fraud,” because “[i]t
 alleges that when the Providers lied to their patients about their insurance coverage, the
 Providers then submitted claims that falsely represented that the services were


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 medically necessary to treat conditions unrelated to Lap Band surgery, when in fact,
 that was the express purpose of such service.” (Id. at 10-11 (citing SACC ¶ 106)).

        Moreover, United argues that “even as to the misstatements to the patients,
 section 107 of the Restatement of Trusts (3d) provides that ‘a trustee may maintain a
 proceeding against a third party on behalf of the trust and its beneficiaries,’” and,
 therefore, “courts hold that a trustee can sue on behalf of their beneficiaries where the
 wrong committed on the beneficiary resulted in the dissipation of trust assets.” (Id. at
 11). United analogizes this to the situation in this case, contending that “[t]o the extent
 that United serves as a fiduciary claims administrator to a plan, it has the authority and
 right to recover for the injury caused by the Providers’ lies.” (Id.).

       The SACC alleges, for example:

              At the direction and control of Michael and Julian Omidi and
              coconspirator Robert Macatangay, Omidi Network
              representatives, including call- center operators, administrators,
              physicians, and patient coordinators routinely misled patients
              who did not have insurance coverage for Lap Band surgery
              performed at or by the Counterclaim Defendants into believing
              that they had such coverage. These Omidi Network
              representatives deceived or lied to these patients, knowing that
              these patients were not covered for Lap Band surgery, either at
              all, or on an out-of-network basis, or with reckless disregard for
              whether patients had such coverage. The Omidis and their
              representatives did so for the purposes of inducing patients to
              proceed with what they told the patients were pre-Lap Band
              services, and securing reimbursement from United for such
              services based on incomplete or misleading information, as set
              forth in the examples below.

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            Once the pre-Lap Band services were complete, and after
            performing whatever additional services were purportedly
            revealed as necessary by the pre-Lap Band services, the Omidi
            Network physicians, patient coordinators, and other
            representatives would make excuses as to why they could not
            proceed with Lap Band surgery, or they failed to schedule such
            surgery, or they told patients that their insurance had denied the
            request for Lap Band coverage, or that they were waiting for
            insurance to approve the Lap Band surgery.

            Had the United members known that they were not covered for
            Lap Band surgery performed by Omidi Network Surgery
            Centers, these members would not have consented to these
            services, which, having been misrepresented as pre-Lap
            Band services, were unnecessary and inappropriate. Moreover,
            in that event, United would not have made any payments for
            such services on behalf of its insured or self-funded group-
            health plans.

            United is entitled to reimbursement for all payments made to
            the Counterclaim Defendants for services provided to patients
            who were deceived by Omidi Network physicians and patient
            coordinators into consenting to pre-Lap Band services based on
            the false pretense that these members had coverage for Lap
            Band surgery performed at or by the Counterclaim Defendants.
            United is also entitled to a declaration that United and the
            health benefit plans that it insures or administers have no
            obligation to make any future payment to the Counterclaim
            Defendants for any services provided to patients under the false
            pretense of insurance coverage for Lap Band surgery.

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 (SACC ¶¶ 106-09 (emphasis added)).

         Ultimately, the Court views United’s allegations regarding the
 misrepresentations made to patients as culminating in allegedly false claims sent to
 United itself. (See, e.g., id. ¶¶ 6, 106). As a result of Providers’ alleged deception of
 Plan Members, United was tricked into paying for unnecessary services. And to the
 extent United acted as a claims administrator for self-funded plans, United has the
 authority to recover for injury caused to the individual employers of Providers’
 patients. Put simply, the SACC alleges that Providers’ fraud caused a direct economic
 harm to United or sponsors of plans administered by United. At least at this early stage
 of litigation, it is impertinent that the original misrepresentations in the alleged chain of
 fraud were made only to the patients who are not parties to this action.

                     b. Misrepresentations of Total Charges Submitted to United

        Providers challenge the very foundation of United’s co-pay waiver theory of
 fraud. Specifically, Providers argue that they could not have fraudulently submitted
 inflated claims that failed to account for waived co-pays because they “did not know
 whether any co-pays were owed, much less the amount of such co-pays, at the time
 they submitted their reimbursement claims.” (Mot. at 6-7 (citing SACC ¶ 4)).
 Providers conclude that the SACC does not support United’s claims since no
 allegations establish that any false representations were made to United. (Id.). As
 counsel for Providers put it at the hearing, a mere “stink” of fraud is insufficient to
 state a claim for relief.

        In contrast, United argues that its allegations regarding co-pay waiver “satisfy all
 the elements of common law fraud,” as the Court has previously concluded.

        Before turning to the parties’ substantive arguments, the Court addresses one
 observation made by Providers in support of this portion of the Motion. Providers state
 that “the Court [previously] acknowledged that ‘there is no affirmative duty for out-of-
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 network healthcare providers like Plaintiffs to collect or disclose collection of co-
 pay[s].’” (Id. at 6 (citing Docket No. 145 at 26) (internal quotation marks omitted)).
 However, the cited portion of the Court’s prior Order is merely the Court’s summary of
 Provider’s argument on this point. The Court went on to note that “Providers
 misconstrue the FACC’s allegations—this is not a case of non-disclosure absent an
 affirmative duty, but rather an instance in which affirmative misrepresentations were
 alleged to have been made during the course of claims submissions.” (Docket No. 145
 at 26).

        The Court also notes its previous conclusion that United’s stated theories are
 based on affirmative misrepresentations, including in the co-pay waiver context.
 Specifically, the Court reasoned that this case “asks whether reporting charges to an
 insurer that allegedly fail to account for co-pay waivers but are meant to reflect the fees
 actually charged to the patient constitutes a misrepresentation,” and concluded that
 “[t]he allegations in the FACC support[ed] a finding that Providers’ purported practice
 constitutes misrepresentation.” (Docket No. 145 at 28). Further, the Court observed:

              Providers contend that they made no misrepresentations by
              failing to disclose waiver of co-pay because the industry-
              standard billing forms contain no spaces for disclosure of
              discounts. (Mot. at 15). Rather, Providers state that they “did
              here what every other healthcare provider does,” and simply
              noted their “Total Charges” on these forms, making no
              representations as to whether they would collect co-pay
              obligations. (Id. at 16). Providers also note that they did not
              know the amounts of the relevant copays until after they had
              submitted these forms, since providers do not learn these
              amounts until the insurer or plan sends an Explanation of
              Benefits (“EOB”) in response to claim submissions. (Id.).
              Providers cite to the Declaration of Araminta Salazar
              (“Salazar Declaration”) as evidence of the EOB format. (Id.).
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             As a preliminary matter, Providers’ assertion that the FACC
             alleges no misrepresentations ignores the FACC’s allegations
             outside of the deduction context. Providers focus on United’s
             fraud allegations regarding waiver of co-pay, and neglect
             to address United’s other fraud allegations; namely that
             Providers submitted “[f]raudulent claims that misrepresented
             the nature of the procedure performed, or in
             some cases, completely failed to disclose that the member
             received a gastric Lap Band,” “[f]raudulent claims that sought
             payment for services which were charged using inflated CPT
             codes,” “[f]raudulent claims that sought payment for services
             which were never performed,” “[f]raudulent claims that inflated
             the member’s BMI in order to receive secure coverage for the
             Lap Band surgery,” and “[f]raudulent claims that demanded
             exorbitant fees far in excess of the usual and customary rate.”
             (FACC ¶ 285).

             Moreover, even as to the deductions, as discussed above,
             United has alleged conduct that could amount to affirmative
             misrepresentations. Providers argue that they were not aware of
             co-pay amounts when they submitted the claims for
             reimbursement (Mot. at 16), but the allegations of
             misrepresentations in the FACC are not negated by invocation
             of these factual issues at this stage in the proceedings.

 (Docket No. 145 at 28-29).

       With these prior conclusions and present arguments in mind, the Court addresses
 the co-pay waiver theory addressed in the SACC.

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                          i.   SACC’s Fraud Allegations and Providers’ Alleged
                               Knowledge of Co-Pay Amounts

        Providers argue that they were not aware of precise co-pay amounts for each
 claim prior to submitting bills to United and therefore could not have misrepresented
 the charged amounts. Specifically, Providers note that “[t]he SACC establishes that
 (1) United, not the Providers, calculates the supposed co-payment and deductible
 amounts (if any) on specific reimbursement claims; (2) United does not do so until
 after the Providers submit their claim forms; (3) after United receives the claim forms,
 United issues a ‘Provider Explanation of Benefits’ form (EOB) that sets forth the
 applicable co-pay amounts; and (4) the EOBs are issued at the same time that United
 issues payment to the Providers.” (Mot. at 7 (emphasis in original)). Providers
 conclude that they had no knowledge of allegedly false charges and could not be
 expected to deduct an amount that has not even been calculated. (Id. at 7, 12-13).

        In contrast, United notes that the SACC makes sufficient allegations of knowing
 misrepresentations on which United relied. According to United, the very fact that
 “Providers routinely verified with United the amount that the patients had yet to satisfy
 on their out-of-network deductibles” shows that “Providers could have, but did not,
 seek and require payment by the patients the deductible amounts either before
 providing services or, after service, but before billing United for those services.” (Opp.
 at 6 (citing SACC ¶¶ 147, 149, 188, 190, 196, 199, 233, 236)). “More fundamentally,”
 United contends, “it does not matter if a provider cannot calculate the co-payment or
 deductible at the time of billing” because “[w]hat they cannot do is submit a false
 claim form with charge amounts that include waived Member Responsibility
 Amounts.” (Id.).

        United points out that “[t]he inability to calculate a co-payment or deductible at
 the time of billing is common under Medicare, but nonetheless it is conceded that
 under Medicare, the claims submissions that include waived deductible and co-pay
 amounts are fraud.” (Id. (footnote omitted) (citing 59 Fed. Reg. 65,372, 65,374 (Dec.
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 19, 1994)). There is no reason, according to United, to treat this case differently as
 “[f]raud claims based on the same facts and claim forms for commercial insurance
 beneficiaries have likewise been repeatedly recognized to state a claim.” (Id. (citations
 omitted)).

        The Court agrees that the temporal issues raised by Providers are insufficient to
 mandate dismissal at this time. The Court recognizes that Providers may well not have
 known the precise amounts of co-pay for all claims submitted to United and that there
 is some evidence to this effect in the SACC. Taking the allegations in the SACC as a
 whole, however, United states a viable claim for relief. Indeed, the SACC includes
 claims that Providers were well-aware of the co-pay obligations prior to submitting
 their bills to United. For instance, as to United Member 23, United alleges that
 Providers “could have, but did not, see and require payment of her more than $2,600
 outstanding deductible . . . before later billing United for these services.” (SACC ¶
 190). And even if Providers did not know the exact amount of co-pay for every claim,
 United persuasively argues that Providers knew the bills as to each patient—as
 opposed to claim (some claims required no copay, as discussed above)—were inflated
 by at least some amount. (Opp. at 5). Indeed, the SACC clearly alleges that “at the
 time Counterclaim Defendants submitted these materially misleading and fraudulent
 claims to United, Counterclaim Defendants knew the falsity of such representations.”
 (SACC ¶ 452; see also id. ¶¶ 4, 97).

        No more is required at this stage of the litigation. As United correctly notes,
 state-of-mind allegations need not comply with the tightened pleading requirements of
 Rule 9(b). See Walling v. Beverly Enterprises, 476 F.2d 393, 397 (9th Cir. 1973)
 (“Nor does Rule 9(b) require any particularity in connection with an averment of
 intent, knowledge or condition of the mind.”). Allegations described above are
 sufficient to move this case to discovery, and if it turns out that no evidence supports
 Providers’ knowledge of co-pay amounts, Providers may raise their concerns on a
 motion for summary judgment. The Court is therefore satisfied that United has
 sufficiently pleaded knowing misrepresentation of the submitted bills.
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        Of course, whether United reasonably relied on such misrepresentations is a
 different matter. United argues that it the following allegations are sufficient to
 establish reliance:

             Counterclaim Defendants submitted the claims to United with
             the intent to induce United to rely on the false statements as to
             the amount charged to the members and, therefore, pay to
             Counterclaim Defendants an amount that was (in the aggregate)
             millions in excess of the actual amount charged to the members
             or the rate regularly charged by the Counterclaim Defendants to
             cash-paying patients, or the amount that should have been paid
             under the plan. United reasonably relied on the false statements
             contained in the claims submitted by Counterclaim Defendants.
             Based upon such reliance, United paid to Counterclaim
             Defendants amounts based on the billed charges in the claims,
             when, in fact, the Counterclaim Defendants had not actually
             charged such amounts to the members.

 (SACC ¶ 453). The Court holds, in accordance with its prior Order, that United
 adequately alleged reasonable reliance. Providers’ contention that United was not
 relying on the “total charges” to determine whether co-pay had been waived is
 unpersuasive. The SACC’s central point is that United relied on the submitted “total
 charges” in remitting payment when those charges were, in fact, misrepresented. The
 elements of fraud are thus properly alleged, and the SACC survives this stage of the
 proceedings.

      Providers’ cited authority does not compel a different result. In Connecticut
 General Life Insurance Co. v. Grand Avenue Surgical Center, Ltd., No. 13 C 4331,
 2015 WL 1868587, at *1 (N.D. Ill. Apr. 21, 2015), Connecticut General Life Insurance
 Company (“CGLIC”) filed suit against a surgery center (“GSAC”) “seeking a
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 judgment declaring that GASC [was] not entitled to any reimbursement because the
 underlying health insurance plans exclude coverage where, as allegedly occurred here,
 a provider waives patient cost-sharing fees such as co-insurance, co-payments, and
 plan deductibles.” GASC, in turn, asserted a promissory estoppel claim against
 CGLIC, “seeking reimbursement of its charges at the percentage CGLIC allegedly
 promised to pay during telephone calls that GASC made before scheduling any
 surgical procedures.” Id. CGLIC applied a “fee forgiveness flag” to claims coming
 from GSAC, and warned GSAC that it would not pay claims from GSAC until it had
 been presented with “clear evidence” that “(1) ‘the charges shown on the [GASC]
 claims are [GASC's] actual charges for the services rendered’ and (2) ‘the [plan
 member] is required to pay the applicable full out-of-network coinsurance and/or
 deductible.’” Id. at *3 (alteration in original). The flag was subsequently lifted,
 though the parties disputed the reason behind this change, and claims were
 subsequently submitted by GASC after the fee forgiveness issue was resolved. Id. at
 *4. The issue that remained in dispute, however, was “whether GASC [was] entitled to
 additional payment on these [post-fee forgiveness resolution] claims based on a
 promise CGLIC made when GASC called before each patient’s surgery to verify
 insurance coverage.” Id.

        In reviewing the cross motions for summary judgment presented by the parties,
 the court evaluated CGLIC’s asserted unclean hands and contract-based defenses
 against GASC’s promissory estoppel claim. Id. at *7. The court noted that
 “[a]ccording to CGLIC, GASC ha[d] unclean hands because it misrepresented its
 billing and collection practices . . . to get the fee forgiveness flag lifted.” Id. The court
 concluded that “[t]he problem with this argument [was] that GASC’s only source of
 information about whether a patient owed cost-sharing fees was the EOB received after
 submitting a claim,” and the court had already categorized these EOBs as ambiguous at
 best. Id. The court stated that “[i]t cannot be said that GASC has unclean hands
 simply because it failed to interpret such ambiguous EOBs as requiring the patient to
 be billed for cost-sharing fees.” Id.

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         Crucially, however, the district court reasoned in the context of a summary
 judgment motion, where ambiguous EOBs were the only source of information about
 co-pays. Here, however, United alleges that that Providers did have knowledge of the
 deductibles prior to submitting its claims and receiving the EOBs. This difference
 illustrates precisely why dismissal is improper on a Rule 12(b)(6) motion as opposed to
 a motion for summary judgment. The SACC’s allegations are sufficient to push this
 case forward to discovery.

       Providers’ remaining case law is similarly unavailing. In Arapahoe Surgery
 Center, LLC v. Cigna Healthcare, Inc., No. 13-CV-3422-WJM-CBS, 2015 WL
 1041515, at *1 (D. Colo. Mar. 6, 2015), several ambulatory surgical centers (“ASCs”)
 brought an antitrust suit against various Cigna entities. Cigna, in turn, asserted
 counterclaims under ERISA, the Racketeer Influenced and Corrupt Organizations Act
 (‘RICO’), 18 U.S.C. § 1962(c), the Colorado Organized Crime Control Act
 (‘COCCA’), Colo. Rev. Stat. § 18–17–104, abuse of health insurance, Colo. Rev. Stat.
 § 18–13–119, civil theft, Colo. Rev. Stat. § 18–4–405, and state law claims for fraud,
 aiding and abetting fraud, negligent misrepresentation, aiding and abetting negligent
 misrepresentation, unjust enrichment, and tortious interference with contract. Id. The
 counterclaims were predicated, in part, on alleged activity involving the “ASCs
 operat[ing] a ‘fee-forgiving’ or ‘dual-pricing’ scheme in which the ASCs promised
 patients that they would receive medical services at in-network rates in order to induce
 them to use the ASCs’ facilities.” Id. “The ASCs estimated in-network rates based on
 Medicare rates, which were much lower than the ‘inflated’ rates the ASCs later
 submitted to Cigna for reimbursement, and waived the patients’ co-insurance
 payments, billing them small amounts or nothing at all.” Id. at *2. “While the ASCs
 disclosed to Cigna on their claim forms that ‘[t]he insured’s portion of this bill has
 been reduced in amount so the patient’s responsibility for the deductible and copay
 amount is billed at in network rates,’ they did not disclose how the charges were
 computed or that the ASCs did not charge the patients the amounts later submitted to
 Cigna.” Id.

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        The counterclaim defendants moved to dismiss the counterclaims arguing, as
 relevant here, that “Cigna ha[d] failed to plead any misrepresentation because Cigna
 admits that the material aspects of the challenged billing practices were disclosed,
 specifically, the ASCs’ reduction of a patient’s bill and deductible or co-pay amount in
 order to approximate in-network rates, and the fact that the in-network rate the ASCs
 proposed was an estimate.” Id. at *5. The court concluded that “[i]n admitting that the
 ASCs disclosed that they reduced the patient’s portion of the bill and made the patient
 responsible for only an in-network deductible and co-pay amount, Cigna concedes that
 it was provided information from which it should have known that the ASCs were
 reducing the amount billed to patients and that they were attempting to approximate in-
 network rates.” Id. at *6. “Given this disclosure, which appeared in the ASCs’ claim
 forms,” the court found “it implausible that Cigna was misled into believing that the
 patient was charged the same amount that the ASCs billed to Cigna, because Cigna
 was aware that the ASCs’ claims were higher than in-network rates.” Id. The court
 further noted that Cigna had failed to “allege[] any other theory under which the Court
 could find that the ASCs made misrepresentations constituting fraud,” or “explain how
 the ASCs’ failure to disclose how the in-network estimate was computed was at all
 material in inducing Cigna to overpay the claims.” Id.

       No similar disclosure has been alleged here. Therefore, the Court fails to see the
 relevance of Arapahoe.

                        ii.   Reconsideration of the Court’s Prior Ruling as to
                              Misrepresentations

       Providers note that this Court previously concluded that, with respect to the
 FACC, “‘United ha[d] alleged conduct that could amount to affirmative
 misrepresentations.’ (Dkt. #145 at p. 29 (emphasis added).).” (Mot. at 11). However,
 Providers contend that “the Court’s holding was based on the assumption that the
 Providers could calculate the co-pay amounts at the time that they submitted their

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 claims,” and “[t]he SACC’s more complete allegations foreclose that possibility.”
 (Id.).

       In its prior Order, the Court evaluated a 1981 California Attorney General
 Opinion Providers cited in support of their position regarding co-pay reporting.
 (Docket No. 145 at 26-27). The Court noted:

             In that Opinion, the Attorney General interpreted whether a
             dentist’s failure to report deductions of co-pay in reporting his
             “usual fee” pursuant to a provision in a dental insurance plan
             violated California laws against misrepresentation and fraud.
             64 Cal. Op. Att’y Gen. 782, 1981 WL 126814, at *1-2 (1981).
             Because the term “usual fee” in the plan was ambiguous, and
             the term was to be construed against the insurer who drafted the
             plan, the Attorney General found that the plan could be
             interpreted to allow co-pay to be included in “usual fee” even
             when the patient did not have to pay it. Id. at *3.

             ...

             [The] Attorney General Opinion . . . [is] inapposite. The term
             “usual fee” as discussed in the Attorney General Opinion
             necessarily is not tied to a specific patient and service. In
             contrast, as alleged in the FACC, “Charges” or “Total Charges”
             were meant to reflect the fees actually charged to the patient for
             the claims reflected on the forms. (FACC ¶¶ 56, 288).
             Moreover, the Attorney General was interpreting an
             ambiguity in an insurance plan against the drafter, in
             accordance with well-established rules of insurance contract
             interpretation. Here, however, the “Total Charges” prompt

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              —which United alleges created a duty to disclose what the
              actual charge for the services rendered were (id. ¶¶ 55-57)—did
              not come from a document that United drafted. Rather, United
              alleges that “[t]hese are forms approved and generated in
              connection with the federal Medicare program, and it is
              common in the health care industry for these same forms to be
              used in connection with other governmental and
              non-governmental insurance.” (Id. ¶ 55). Therefore, the
              interpretation afforded by the Attorney General is inapplicable
              here.

 (Id.). Providers ask the Court to reconsider its prior ruling. (Mot. at 11-12). The
 Court declines to do so.

       B.     Conspiracy to Commit Fraud

        Providers note the Court’s prior decision that United had failed to plead a
 conspiracy to commit fraud because it failed to plead an underlying fraud claim (see
 Docket No. 144 at 31) and argue that the conspiracy claim once again fails because
 “[t]he same failure is present here with respect to the vast majority of the 30,000
 reimbursement claim lines at issue.” (Mot. at 13). United, however, argues that this
 argument must be rejected for the same reasons expressed in connection with the fraud
 claims, above. (Opp. at 12).

        As the Court has previously recognized, under California law, “[c]onspiracy is
 not a cause of action, but a legal doctrine that imposes liability on persons who,
 although not actually committing a tort themselves, share with the immediate
 tortfeasors a common plan or design in its perpetration.” Applied Equip. Corp. v.
 Litton Saudi Arabia Ltd., 7 Cal. 4th 503, 510-11, 28 Cal. Rptr. 2d 475 (1994) (citing
 Wyatt v. Union Mortgage Co., 24 Cal.3d 773, 784, 157 Cal. Rptr. 392 (1979)).


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        “The elements of an action for civil conspiracy are the formation and operation
 of the conspiracy and damage resulting to plaintiff from an act or acts done in
 furtherance of the common design. The cause of action is the damage suffered.” Mox,
 Inc., v. Woods, 202 Cal. 675, 677 (1927). “Although an express agreement need not be
 shown for a plaintiff to prevail on a civil conspiracy claim, there must be at least a tacit
 understanding.” In re Sunset Bay Associates, 944 F.2d 1503, 1517 (9th Cir. 1991).
 “Under California law, the existence of a conspiracy ‘may sometimes be inferred from
 the nature of the acts done, the relations of the parties, the interests of the alleged
 conspirators, and other circumstances.’” Id. (quoting Greenwood v. Mooradian, 137
 Cal. App. 2d 532, 538 (1955)).

       The Court previously observed that the allegations in the FACC supported an
 inference that the Counterclaim Defendants, controlled by the same parties, were
 engaged in a collective effort—and had at least a tacit agreement—to jointly “‘defraud
 United by submitting and collecting on fraudulent health insurance claims and medical
 records, and to obtain by means of false and fraudulent pretenses, representations and
 promises, money and property owned by, and under the custody and control of United,
 in connection with the delivery of or payment for health care benefits, items, or
 services.’” (Docket No. 144 at 30 (quoting FACC ¶ 304)).

         However, even so, the Court concluded that United’s failure to adequately plead
 its fraud claim also rendered its conspiracy allegations deficient. (Id. at 31). The
 Court noted that “‘[i]n some cases, the plaintiff may allege a unified course of
 fraudulent conduct and rely entirely on that course of conduct as the basis of a claim.
 In that event, the claim is said to be ‘grounded in fraud’ or to ‘sound in fraud,’ and the
 pleading of that claim as a whole must satisfy the particularity requirement of Rule
 9(b).’” (Id. (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103-04 (9th Cir.
 2003))). The Court stated that “false statements” made by each Counterclaim
 Defendant are not necessarily required, but the role of each Counterclaim Defendant in
 the alleged scheme must be made clear. (Id. (citing Swartz, 476 F.3d at 764)).

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        Here, Providers concede that they do not challenge the conspiracy claim, except
 to the extent that they challenge the underlying co-pay waiver fraud allegations.
 (Reply at 10). As the Court has already concluded that United has adequately alleged
 fraud generally and the co-pay waiver theory specifically, this theory of liability will
 be allowed to proceed.

       To the extent the SACC states alleges conspiracy to commit fraud as a distinct
 and freestanding claim, the Court DISMISSES that claim with prejudice.

       C.     State Law Claims and Self-Funded Plans

              1. Article III Standing

        Providers argue that a claims administrator lacks Article III standing to bring
 state law claims as to self-funded plans because it has suffered no “injury-in-fact” in
 connection with these claims. (Mot. at 13-14). United, in contrast, contends that
 “[t]his Court previously (and correctly) concluded that United has Article III standing
 to raise state law claims to recover assets that it authorized to be paid on behalf of self-
 funded plans.” (Opp. at 12 (citing Docket No. 145 at 8)).

        A plaintiff must have Article III standing in order for the suit to constitute a
 “case or controversy” over which a federal court has subject matter jurisdiction.
 Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004) (citing Steel Co. v.
 Citizens for a Better Env’t, 523 U.S. 83, 101(1998)). In order to demonstrate Article
 III standing, a plaintiff must show: “(1) injury in fact; (2) causation; and (3) likelihood
 that a favorable decision will redress the injury.” Schneider v. Chertoff, 450 F.3d 944,
 959 (9th Cir. 2006) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).
 An “injury in fact” consists of “an invasion of a legally protected interest which is (a)
 concrete and particularized, and (b) actual or imminent, not conjectural or
 hypothetical.” Lujan, 504 U.S. at 560 (internal quotation marks and citations omitted).
 General allegations regarding injury are sufficient at the pleading stage. Braunstein v.
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 Arizona Dep't of Transp., 683 F.3d 1177, 1184 (9th Cir. 2012) (citing Lujan, 504 U.S.
 at 561).

         Previously, the Court recognized that United had made sufficient allegations as
 to its fiduciary status with respect to the plans at issue to confer it standing for its
 ERISA claim. (Docket No. 145 at 4-7). Further, the Court recognized that ERISA
 utilizes the terminology of trust law, and courts interpreting ERISA have relied on trust
 law to do so. (Id. at 8 (citing Gabriel v. Alaska Elec. Pension Fund, 773 F.3d 945, 954
 (9th Cir. 2014))). Moreover, the Court observed, the Supreme Court has noted that
 ERISA typically treats a plan fiduciary as a trustee. (Id. (citing CIGNA Corp. v.
 Amara, 131 S. Ct. 1866, 1879 (2011) (stating that ERISA typically treats the terms of a
 plan as a trust and a plan fiduciary as a trustee))). Finally, the Court discussed
 Supreme Court and Ninth Circuit cases recognizing that trustees have Article III
 standing because they are acting on behalf of parties who own the claims. (Id. (citing
 Sprint Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 287 (2008) (discussing
 Article III standing in the context of assignments, and pointing out that “federal courts
 routinely entertain suits which will result in relief for parties that are not themselves
 directly bringing suit,” using trustees initiating suit on behalf of a trust as just such an
 example); Glanton ex rel. ALCOA Prescription Drug Plan v. AdvancePCS Inc., 465
 F.3d 1123, 1126 (9th Cir. 2006) (noting that trustees and executors have Article III
 standing because they “have a stake in the litigation because they are acting on behalf
 of the estate, which owns the claims being litigated”))). In light of this Supreme Court
 precedent and the Ninth Circuit’s guidance regarding trust law, the Court concluded
 that United had made an adequate showing of Article III standing as to self-funded
 plans. (Id. at 8-9).

        In the Motion, Providers argue that, although trust terminology is instrumental in
 interpreting ERISA, there are limits to this analogy. (Mot. at 13-14). Specifically,
 Providers contend that it would be improper to import this analogy to the issue of an
 ERISA claims administrator’s standing to bring state law claims. (Id.).

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        United, however, argues that the trust analogy is appropriate even as to state law
 claims (Opp. at 12) and, moreover, “[e]ven apart from its ability to represent the plans’
 interests, the amended allegations in the SACC demonstrate United’s own Article III
 standing to recover overpayments” (id. at 13 (citing SACC ¶ 63)). United summarizes
 its Article III standing as follows:

              As alleged, United’s duties as a claims administrator require it
              to evaluate whether claims should be paid under the terms of a
              group health plan. SACC ¶ 63. Once United has determined
              that a claim is proper, it is authorized to cause payments to be
              made from the self-funded customer’s assets. Id. ¶ 64. The
              Administrative Services Agreements (“ASA”) generally give
              United the exclusive authority to recover overpayments that are
              made on behalf of its self-funded plan clients, including the
              right to initiate litigation. Id. ¶ 66. Should United recover such
              assets, it must return those assets to the plan sponsors—subject
              to its right to retain a portion of the overpayment as
              compensation for its services. Id. And, in certain
              circumstances, United could be accountable to its customers for
              claims paid that are inconsistent with the terms of the relevant
              plan. Id. ¶ 65.

              Under these circumstances, holding that United has Article III
              standing to recover amounts that the Providers procured by
              fraud is entirely consistent with United’s role as a claims
              administrator for the plans it sues for. The SACC alleges that
              the Providers’ conduct has interfered with United’s
              performance of its contractual duties, which is sufficient to give
              United an Article III injury. Sprint Commc’ns Co. L.P., 554
              U.S. at 288 (recognizing that a contractual right to litigate
              supports Article III standing). Further, United has the
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              contractual authority to recover assets fraudulently paid to
              participants and providers, along with the contractual duty to
              remit such payments to its customers. Id. It has a monetary
              interest to pursue claims. Id. at 289 (noting that representative
              would have Article III standing to sue for another party if the
              representative kept a portion of the proceeds). Thus, as in
              Sprint, United’s duties under the ASA give it standing to
              recover payments made on behalf of its employer customers,
              and avoid the risk of those customers being required to bring
              some or all of those claims in another forum.

 (Opp. at 13-14). This rule is consistent, United argues, “with the long-standing
 common law rule (in California and nationally) that a party who possesses another’s
 property can sue to recover it, should he or she be defrauded of it.” (Id. at 14 (footnote
 omitted)).

       Finally, United points out that “[t]he Providers’ only response is to argue that
 United claimed in a petition for certiorari filed in the Spinedex litigation that it was not
 a proper defendant to an ERISA § 502(a)(1)(B) claim because it was just a ‘third party
 claims administrator’” (id. at 14-15 (citing Mot. at 14)); however, United indicates that
 “Spinedex involves an entirely different issue than here—whether United is a proper
 defendant to an ERISA § 502(a)(1)(B) claim when it is not the obligor” (id. at 15).

        The Court concludes, as it did in its last Order, that United has Article III
 standing. Not only have Providers failed to cite to any authority which would
 undermine the Court’s prior ruling, but they fail to adequately address United’s
 allegations in the SACC regarding its duties under the ASAs to pay claims pursuant to
 the terms of the plans and, in the event of an improper disbursement, to recover
 overpayments. (See SACC ¶¶ 64-66).


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        At the hearing, counsel for Providers argued the SACC does not allege a “lock,
 stock, and barrel” assignment of rights that would enable suit in this Court. Counsel
 urged the Court to follow an out-of-circuit opinion in Cortlandt Street Recovery Corp.
 v. Hellas Telecommunications, S.A.R.L, where the Second Circuit found that a
 purported assignee of a promissory had no standing to collect delinquent payments.
 790 F.3d 411, 417-18 (2nd Cir. 2015). In dismissing the complaint, the panel held that
 the assignee failed to allege that it was transferred the “title [to] or ownership” of the
 claims. Id. at 418. At most, the assignee demonstrated that it gained the right to
 collect owed money under the promissory note, but not the right to the money itself.
 Id.

        But this action does not involve a promissory note. It involves an ERISA plan
 fiduciary who, for the purposes of standing, occupies the role of a trustee. And trustees
 may indisputably litigate claims and collect overpayments on behalf of the trust—or in
 this case, plan sponsors—even though they do not “own” the money they seek to
 collect. The Second Circuit opinion is therefore inapposite; United has adequately
 alleged Article III standing.

              2. UCL Standing

        Notwithstanding Article III standing, the Court must determine whether United
 may properly bring a UCL claim under California law. Providers argue that United has
 no standing to sue under the UCL on behalf of self-funded plans because United has
 suffered no injury with respect to these plans. (Mot. at 14-15). United, however,
 contends that, for the same reasons articulated in connection with its Article III
 standing, “the amended allegations in the SACC allege that . . . the Providers’ unlawful
 acts caused United to lose ‘money or property’ under California’s UCL (Count II).”
 (Opp. at 15).

         Previously, the UCL afforded standing for “any person acting for the interests of
 itself, its members or the general public.” Kwikset Corp. v. Superior Court
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 (“Kwikset”), 51 Cal. 4th 310, 320, 120 Cal. Rptr. 3d 741 (2011) (internal quotation
 marks and citations omitted). However, in 2004, with the enactment of Proposition 64,
 UCL standing requirements became more stringent. Id. at 320-21. The California
 Supreme Court has noted that the purpose of this change was “to eliminate standing for
 those who have not engaged in any business dealings with would-be defendants and
 thereby strip such unaffected parties of the ability to file ‘shakedown lawsuits,’ while
 preserving for actual victims of deception and other acts of unfair competition the
 ability to sue and enjoin such practices.” Id. at 317 (citations omitted). “To have
 standing under California’s UCL, as amended by California’s Proposition 64, plaintiffs
 must establish that they (1) suffered an injury in fact and (2) lost money or property as
 a result of the unfair competition.” Birdsong v. Apple, Inc., 590 F.3d 955, 959 (9th Cir.
 2009) (citing Cal. Bus. & Prof. Code § 17204; Walker v. Geico Gen. Ins. Co., 558 F.3d
 1025, 1027 (9th Cir. 2009)) (discussing, in case involving consumer suit alleging that
 Apple’s iPod was defective because it posed an unreasonable risk of noise-induced
 hearing loss, that consumers lacked standing under the UCL because they failed to
 show the requisite injury to themselves).

        The “injury in fact” element of UCL standing is meant to incorporate the
 “established federal meaning,” which was already discussed above in the context of
 Article III standing. Kwikset, 51 Cal. 4th at 322. In many cases, satisfaction of the
 “lost money or property” element will satisfy this “injury in fact” requirement. Id. at
 323. In its own right, the “lost money or property” element can be satisfied in
 “innumerable” ways, such as when a plaintiff is made to: “(1) surrender in a
 transaction more, or acquire in a transaction less, than he or she otherwise would have;
 (2) have a present or future property interest diminished; (3) be deprived of money or
 property to which he or she has a cognizable claim; or (4) be required to enter into a
 transaction, costing money or property, that would otherwise have been unnecessary.”
 Id. The California Supreme Court has recognized that the economic component of
 UCL standing renders it more restrictive than federal injury in fact (because it includes
 fewer types of injury), but also notes that the actual quantum of economic injury
 needed is only as much as would satisfy injury in fact—all that need be alleged is an
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 “identifiable trifle” of injury. Id. at 324-25 (internal quotation marks and citations
 omitted).

       As the Court observed in connection with the Motions to Dismiss the FACC, “it
 does stand to reason that United, as the entity purportedly subject to fraudulent
 misrepresentations made by Providers, should be permitted to redress the harms
 stemming from these alleged practices.” (Docket No. 145 at 10). “Moreover, United
 does not run afoul of Kwikset’s pronouncement that Proposition 64 was meant to
 ‘eliminate standing for those who have not engaged in any business dealings with
 would-be defendants.’” (Id.).

        However, the Court previously concluded that it was “unclear what economic
 injury United suffered in connection with self-funded plans as a result of Providers’
 purported conduct.” (Id.). The Court observed that, absent a showing of such injury,
 the UCL standing requirements did not permit United to bring suit. (Id.). The Court,
 therefore, ruled that United did not have standing to bring a UCL claim on behalf of
 the self-funded plans. (Id.).

        Providers point out that “United amended the SACC allege that, under ‘ASAs
 between it and the relevant group health plan sponsor,’ it ‘has the contractual authority
 to recover overpayments made on behalf of the group health plan . . . .’” (Mot. at 14
 (quoting SACC ¶ 488)). “United claims it has lost injury or property because it is ‘the
 party with the right to recover overpayments made as a result of fraudulent or improper
 claims.’” (Id. (quoting SACC ¶ 490)). Providers argue, moreover, that this Court’s
 ruling in a related suit, Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp.,
 Inc., 2015 WL 1608991, at *70 (C.D. Cal. Apr. 10, 2015), forecloses United’s standing
 here. (Id.).

       United, however, urges that it may bring a UCL claim because, “consistent with
 long-standing California law, California courts recognize that a party has UCL
 standing to recover assets over which it has an interest, even if it did not own them.”
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 (Opp. at 15). In support of this argument, United cites Silvaco Data Sys. v. Intel Corp.
 (“Silvaco”), 184 Cal. App. 4th 210, 244 (2010), disapproved of on other grounds by
 Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 246 P.3d 877 (2011), Swain v.
 CACH, LLC, 699 F. Supp. 2d 1117, 1122 (N.D. Cal. 2009), and Nutrishare, Inc. v.
 Conn. Gen. Life Ins. Co. (“Nutrishare”), 2014 WL 1028351, at *3 (E.D. Cal. Mar. 14,
 2014). (Id. at 15, 15 n. 14).

        The Court agrees with Providers that Silvaco does not stand for the proposition
 that a plaintiff has standing to assert a UCL claim simply because at some point in time
 it controlled funds belonging to others. There, the appellate court stated, in discussing
 the UCL’s “lost money or property” requirement, that:

              Ordinarily when we say someone has “lost” money we mean
              that he has parted, deliberately or otherwise, with some
              identifiable sum formerly belonging to him or subject to his
              control; it has passed out of his hands by some means, such as
              being spent or mislaid, or ceded in a gamble, bad loan, or
              investment. Similarly, when we say someone has “lost”
              property we mean that he has parted with some particular item
              of property he formerly owned or possessed; it has ceased to
              belong to him, or at least has passed beyond his control or
              ability to retrieve it.

 Silvaco, 184 Cal. App. 4th at 244. The Swain court, similarly, stated that it would
 conclude that a plaintiff had standing to bring a UCL claim if the plaintiff “allege[d] a
 loss of money or property in which she had prior possession or a vested legal interest,
 even if that loss is not eligible for restitution.” Swain, 699 F. Supp. 2d at 1122.
 However, the Court does not view these statements as compelling it to adopt the view
 United espouses.


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       The Court acknowledges that, in Nutrishare, the district court evaluated a
 similar situation to the one here, and concluded that because CIGNA had alleged that a
 medical provider’s (“Nutrishare’s”) “scheme has caused it to pay Nutrishare over six
 million dollars for procedures that should have cost twenty to thirty percent less than
 that amount,” along with “detailed, specific examples of how Nutrishare’s schemes
 caused such injuries,” a motion to dismiss CIGNA’s UCL claims for lack of standing
 should be denied. Nutrishare, 2014 WL 1028351, at * 3.

        However, while the Court recognizes that the SACC contains similar allegations
 that Providers’ scheme caused United to pay out claims improperly, and despite the
 allegations that United is contractually obligated to seek recovery of funds improperly
 paid out (see SACC ¶ 66), which are then generally returned to the plans (though
 United might be permitted to keep a portion of the overpayment) (see id.), the Court
 remains unconvinced that United has adequately demonstrated that it has “lost money
 or property” for purposes of UCL standing. The fact remains that the funds sought do
 not belong and never belonged to United.

        Therefore, the Court maintains its prior conclusion that United does not have
 standing to assert its UCL claim. Because United does not point to any possible facts
 that would change this determination, any further amendments of the pleading would
 be futile. Accordingly, the SACC’s UCL claim is DISMISSED with prejudice insofar
 it seeks recovery on behalf of self-funded plans.


              3. United as Party to Contracts for Interference Claim

        Providers argue that United’s interference claim fails as to self-funded plans
 because United has failed to demonstrate that it is a party to the relevant contracts.
 (Mot. at 15). United, however, argues that it has adequately alleged that “it is a party
 to the ASA with its customers, and that the Providers’ fraud disrupted that contractual

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 relationship.” Such allegations, according to United, “are sufficient to state a tortious
 interference claim and cure the shortcomings identified in the FACC.” (Opp. at 16).

        In order to properly plead a claim for tortious interference with contractual
 relations, a party must satisfy three elements: “(1) it has a valid and existing contract
 with a third party; (2) defendants had knowledge of the contract; (3) defendants
 committed an intentional act designed to induce a breach or disrupt the contractual
 relationship; (4) actual breach or disruption of the contract relationship occurred; and
 (5) damages were suffered as a result.” Sebastian Int’l, Inc. v. Russolillo, 162 F. Supp.
 2d 1198, 1203 (C.D. Cal. 2001) (citing Quelimane Co. Inc. v. Stewart Title Guaranty
 Co., 19 Cal.4th 26, 55, 77 Cal. Rptr. 2d 709 (1998); Pacific Gas & Electric Co. v. Bear
 Stearns & Co., 50 Cal.3d 1118, 1126, 270 Cal. Rptr. 1 (1990)). The Ninth Circuit,
 moreover, recently held that liability for the tort of intentional interference with
 contractual relations is not limited to parties without any legitimate interest in the
 underlying contract; rather, parties with an economic interest in the contractual
 relationship may be held liable for intentional interference. See United Nat. Maint.,
 Inc. v. San Diego Convention Ctr., Inc., 766 F.3d 1002, 1007 (9th Cir. 2014), cert.
 denied, 135 S. Ct. 980 (2015) (noting that, “under California law, the pertinent
 economic relationship is the one that exists between the two contracting parties,” and
 the tort exists so as “to protect the parties to that relationship from ‘interference by a
 stranger to the agreement’” (citations omitted)).

         The Court previously ruled that, as to self-funded plans, United failed to allege
 that it was a party to the contracts with which it asserted interference. (Docket No. 145
 at 43).

       Providers point out that “[t]he SACC supplements United’s Fourth Cause of
 Action for Intentional Interference with Contractual Relations by adding, verbatim, the
 same allegations regarding United’s ASAs that are discussed in connection with the
 UCL claim.” (Mot. at 15). But such allegations are deficient, Providers argue, because

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 “the ASAs do not designate United a party to the contracts with the patients who were
 covered under self-funded plans.” (Id.).

        United asserts, however, that “as alleged in the SACC, pursuant to the ASAs
 United has paid or authorized claims from self-funded customers’ assets that are due
 and owing under the relevant plans.” (Opp. at 16 (citing SACC ¶ 488)). United posits
 that “[t]he Providers’ wrongful and fraudulent conduct was intended to cause United to
 pay claims not appropriate under the plans,” and, “[p]ursuant to the ASA, United is (as
 noted above) responsible for attempting to recover such assets for its customers, and
 could be (in certain circumstances) held accountable for such payments.” (Id.).
 Therefore, United contends that “the SACC sufficiently alleges that the Providers’
 actions caused a ‘disruption’ of United’s administration of the ASAs, which states a
 claim for relief.” (Id. (citing Docket No. 145 at 44)).

        The Court agrees that, as to the ASAs, United has properly alleged that it is a
 party to the contracts and can, therefore, assert interference with them. The Court
 nonetheless notes that these allegations do not demonstrate that United is a party to the
 contracts with the patients covered under the self-funded plans. It appears, however,
 that United is not asserting interference with such contracts, and the Court does not
 dismiss United’s claim on that ground.

       D.     Preemption

        Providers argue that United’s state law claims related to alleged co-pay waivers
 are preempted. (Mot. at 15-20).

        “There are two strands of ERISA preemption: (1) ‘express’ preemption under
 ERISA § 514(a), 29 U.S.C. § 1144(a); and (2) preemption due to a ‘conflict’ with
 ERISA’s exclusive remedial scheme set forth in 29 U.S.C. § 1132(a), notwithstanding
 the lack of express preemption.” Paulsen v. CNF Inc., 559 F.3d 1061, 1081 (9th Cir.
 2009) (citing Cleghorn v. Blue Shield of Cal., 408 F.3d 1222, 1225 (9th Cir. 2005)).
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       The Court discusses each in turn.

              1. “Express” Preemption Under § 514(a)

        “Express” preemption, unlike “complete” preemption, does not confer federal
 question removal jurisdiction. See Marin Gen. Hosp. v. Modesto & Empire Traction
 Co. (“Marin General”), 581 F.3d 941, 945-46 (9th Cir. 2009). Express preemption is
 governed by ERISA § 514(a), which “provides that, subject to various exceptions . . . ,
 ERISA ‘supersede[s] any and all State laws insofar as they may . . . relate to any
 employee benefit plan.’” Sarkisyan v. CIGNA Healthcare of California, Inc., 613 F.
 Supp. 2d 1199, 1203 (C.D. Cal. 2009) (quoting 29 U.S.C. § 1144(a)). “A law ‘relates
 to’ an employee benefit plan, in the normal sense of the phrase, if it has a connection
 with or reference to such a plan.” Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 96-97
 (1983). The Supreme Court has noted that this “preemption clause is conspicuous for
 its breadth,” as “[i]t establishes as an area of exclusive federal concern the subject of
 every state law that ‘relate[s] to’ an employee benefit plan governed by ERISA.” FMC
 Corp. v. Holliday, 498 U.S. 52, 58 (1990). Even state laws that are consistent with
 ERISA are preempted. See Metro. Life Ins. Co. v. Massachusetts, 471 U.S. 724, 739
 (1985).

        A state law demonstrates the forbidden “reference to” an ERISA plan when it
 “acts immediately and exclusively upon ERISA plans . . . or where the existence of
 ERISA plans is essential to the law’s operation.” California Div. of Labor Standards
 Enforcement v. Dillingham Const., N.A., Inc., 519 U.S. 316, 325 (1997) (finding that a
 California law requiring a contractor on a public works project to pay its workers the
 prevailing wage in the project’s locale had no “reference to” ERISA plans).

      A state law that does not “refer to” an ERISA plan could, nevertheless, be
 preempted if it has a “connection with” such a plan. Id. at 325. Previously, the
 Supreme Court interpreted “relates to,” and consequently “connection with,” broadly.
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 See, e.g., Shaw, 463 U.S. at 97. However, more recently, the Supreme Court has
 limited the scope of this analysis. See Operating Eng’rs Health & Welfare Trust Fund
 v. JWJ Contracting Co., 135 F.3d 671, 677 (9th Cir. 1998) (“Of late, the [Supreme]
 Court has come to recognize that ERISA pre-emption must have limits when it enters
 areas traditionally left to state regulation. . . .”). In New York State Conference of Blue
 Cross & Blue Shield Plans v. Travelers Insurance. Co. (“Travelers”), 514 U.S. 645,
 656 (1995), the Supreme Court recognized that “[f]or the same reasons that infinite
 relations cannot be the measure of pre-emption, neither can infinite connections.” As
 such, under the more modern approach, a § 514(a) “connection with” analysis requires
 “look[ing] both to ‘the objectives of the ERISA statute as a guide to the scope of the
 state law that Congress understood would survive,’ as well as to the nature of the effect
 of the state law on ERISA plans.” California Div. of Labor Standards Enforcement,
 519 U.S. at 325 (quoting Travelers, 514 U.S. at 656, 658-59).

      Regarding the objectives of ERISA, the Supreme Court has stated that
 Congress’s intent in passing § 514(a) was:

       [T]o ensure that plans and plan sponsors would be subject to a
       uniform body of benefits law; the goal was to minimize the
       administrative and financial burden of complying with conflicting
       directives among States or between States and the Federal
       Government. Otherwise, the inefficiencies created could work to the
       detriment of plan beneficiaries.

 Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 142 (1990) (citing FMC Corp. v.
 Holliday, 498 U.S. 52, 60 (1990)).

        In contrast, the Supreme Court “has established a presumption that Congress did
 not intend ERISA to preempt areas of ‘traditional state regulation’ that are ‘quite
 remote from the areas with which ERISA is expressly concerned—reporting,
 disclosure, fiduciary responsibility, and the like.’” Paulsen v. CNF Inc., 559 F.3d
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 1061, 1082 (9th Cir. 2009) (quoting Rutledge v. Seyfarth, Shaw, Fairweather &
 Geraldson, 201 F.3d 1212, 1216 (9th Cir.), opinion amended on denial of reh’g, 208
 F.3d 1170 (9th Cir. 2000), overruled on other grounds by Aetna Health Inc. v. Davila,
 542 U.S. 200(2004)) (internal quotation marks omitted). Should a state law have “only
 a tenuous, remote, or peripheral connection with covered plans, as is the case with
 many laws of general applicability,” preemption does not occur. Travelers, 514 U.S. at
 661 (quoting District of Columbia v. Greater Washington Bd. of Trade, 506 U.S. 125,
 130 n. 1 (1992)) (internal quotation marks omitted).

        The Ninth Circuit has utilized a “relationship test” in evaluating “connection
 with” preemption, which entails a finding that “a state law claim is preempted when
 the claim bears on an ERISA-regulated relationship, e.g., the relationship between plan
 and plan member, between plan and employer, between employer and employee.”
 Paulsen, 559 F.3d at 1082 (citing Providence Health Plan v. McDowell, 385 F.3d
 1168, 1172 (9th Cir. 2004)).

        Here, the Court previously decided that United’s state law claims for fraud,
 violation of the UCL, and intentional interference were not expressly preempted. (See
 Docket No. 145 at 11-25).

        As to fraud, the Court pointed out that California fraud law does not make
 reference to ERISA plans, as it is a law of general applicability that neither “acts
 immediately and exclusively upon ERISA plans,” nor relies upon the existence of
 ERISA plans to operate. (Id. at 15-16 (quoting Paulsen, 559 F.3d at 1082 (finding that
 state law negligence claims were not preempted under the “reference to” analysis
 because they were based on common law negligence principles and select California
 statutes, laws which did not act “immediately and exclusively” on ERISA plans and
 the operation of which did not rely on the existence of ERISA plans))).

       The Court further concluded, in evaluating whether there was a “connection
 with” ERISA plans, that the relevant activity transpired when an out-of-network
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 provider submitted allegedly false bills to United, a claims administrator (and, for
 some plans, an insurer)—in short, the alleged improprieties took place in the context of
 a relationship that, in and of itself, is not regulated by ERISA. (Id. at 16-18). While
 the Court acknowledged that the claims at issue are not entirely unrelated to ERISA-
 regulated relationships, and although the Court is cognizant that the issue of
 preemption presented here is difficult, the Court concluded that “the alleged
 misconduct does not implicate a state law claim that would subject plans and plan
 sponsors to ‘conflicting directives,’ such that it would demonstrably be subsumed
 within the class of state law Congress would have expected ERISA to preempt.” (Id. at
 17).

        The Court applied the same logic to the remaining state law claims. (Id. at 22-
 25). The Court’s conclusion that an intentional interference claim predicated upon the
 contracts at issue is not preempted as “related to” an ERISA plan may seem
 counterintuitive at first glance. However, in reaching this conclusion, the Court was
 guided by precedent that elucidates the purpose behind § 514, the nature of the conduct
 at issue, and the fact that allowing for redress in these types of scenarios will further
 the objective of protecting the integrity of employee benefit plans. Indeed, one of the
 cases cited by Providers similarly declined to find preemption of counterclaims made
 against various ambulatory surgical centers for fraud, aiding and abetting fraud,
 negligent misrepresentation, aiding and abetting negligent misrepresentation, unjust
 enrichment, and tortious interference with contract. See Arapahoe Surgery Ctr., LLC
 v. Cigna Healthcare, Inc. (“Arapahoe”), No. 13-CV-3422-WJM-CBS, 2015 WL
 1041515, at *7 (D. Colo. Mar. 6, 2015). The Arapahoe court reasoned as follows:

              The Court finds that Cigna’s state law claims are not preempted
              by ERISA because the claims at issue are based on whether the
              ASCs made material misrepresentations, and whether those
              alleged misrepresentations caused the ASCs to be unjustly
              enriched or caused interference with the plans. Because the
              ASCs are not “principal ERISA entities”, no relations between
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              such entities are affected by the claims. The mere fact that the
              plan is associated with the claims, or that the plan is factually
              tied to the alleged tortious conduct, does not make them
              “relate[d] to” ERISA so as to trigger conflict preemption under
              this circuit’s precedent. Id. at 1136 (finding claim of negligent
              supervision by insurance company over plan advisor not
              preempted because it related to agency relationship not covered
              by ERISA); Woodworker’s Supply, 170 F.3d at 990–92 (finding
              claim of fraudulent inducement to join plan not preempted
              because relations among principal ERISA entities are not
              affected and claim is not within scope of ERISA, citing cases).

 Id. Admittedly, the court was not applying Ninth Circuit precedent, but the reasoning
 is nevertheless persuasive. See also Connecticut Gen. Life Ins. Co. v. Advanced
 Surgery Ctr. of Bethesda, LLC, No. CIV.A. DKC 14-2376, 2015 WL 4394408, at *18
 (D. Md. July 15, 2015) (holding that tortious interference claim was not preempted
 because, “as with the Cigna entities’ fraud-based claims, the misconduct complained of
 does not involve ERISA entities and the misadministration of ERISA benefits, but the
 intermeddling of third party providers in a contract between the Cigna entities, the plan
 administrators, and the plan beneficiaries”). As a brief note of clarification, the Court
 recognizes that self-funded benefit plans are not “insurance policies,” as such. See
 Scharff v. Raytheon Co. Short Term Disability Plan, 581 F.3d 899, 906 (9th Cir. 2009).
 The term “insurance contract(s)” in its prior Orders was meant not as a term of art, but
 rather as a general way to refer to contracts bearing on the benefits issues in this case.

       Ultimately, the Court maintains its prior conclusions as to express preemption.

        Providers’ cited Ninth Circuit authority on the “refer to” and “relate to” issue is
 distinguishable from this case. For example, Aetna Life Ins. Co. v. Bayona, 223 F.3d
 1030, 1032 (9th Cir. 2000), involved a nurse (Evangeline Castro) employed by Good
 Samaritan Hospital and enrolled for life insurance coverage under the group insurance
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 policy issued to Good Samaritan through Aetna Life Insurance Company. Castro
 since passed away, and her sister, Emelita Castro, was designated to receive 85% of the
 insurance proceeds to hold in trust for Evangeline’s children. Id. However,
 Evangeline’s husband, Rey Bayona, who had been designated a 15% interest,
 “informed Aetna that he wished to claim a community property interest in 50% of the
 policy proceeds.” Id. “Aetna filed a complaint in interpleader in federal district court,
 naming Castro and Bayona as defendants”; “Castro answered this complaint, and also
 filed counterclaims against Aetna, Good Samaritan Hospital, and the Bene–Flex Plan.”
 Id. The Ninth Circuit held that “Castro asserted counterclaims for breach of contract,
 tortious breach of the covenant of good faith and fair dealing, and fraud—all were
 based on common law and state causes of action, and all were preempted.” Id. at 1034.

         However, Bayona involved counterclaims brought by a beneficiary to a life
 insurance policy against the life insurance company that administered the policy, and
 questions about what she should have been distributed under the terms the policy.
 Here, in contrast, the Court is evaluating claims made by an insurer/claims
 administrator against out-of-network providers, asserting various fraudulent and
 otherwise wrongful activities pertaining to billing and interactions with plan
 participants. The factual scenarios, in short, are distinguishable in significant respects.

        Providers cite additional, non-binding authority on this issue. The Court
 acknowledges that there are cases which reach conclusions different from those the
 Court has adopted in this case. See Connecticut Gen. Life Ins. Co. v. Humble Surgical
 Hosp., LLC, No. 4:13-CV-3291, 2015 WL 1311224, at *1 (S.D. Tex. Mar. 24, 2015)
 (preempting overpayment claims against hospital ). However, the Court has conducted
 its analysis, pursuant to the facts of this particular situation and Ninth Circuit law, and
 in a manner that it believes respects the purpose and scope of § 514. The Court does
 not find Providers’ out-of-circuit authority persuasive here.

       Providers acknowledge that “‘the bare fact that the Plan may be consulted in the
 course of litigating a state-law claim’ may be insufficient [for preemption].” (Mot. at
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 18-19 (quoting Blue Cross of California v. Anesthesia Care Associates Med. Grp., Inc.,
 187 F.3d 1045, 1051 (9th Cir. 1999)). However, Providers look to non-binding
 authority to support their contention that preemption applies when, as here, “United
 cannot prevail on its state law theories unless the plan provisions are not only
 consulted, but construed in a manner favorable to United.” (Id. at 20 (emphasis in
 original)). Specifically, Providers cite to Metropolitan Life Insurance Company v.
 DePalo, No. CIV.A. 13-3092 KM, 2014 WL 4681094, at *10 (D.N.J. Sept. 22, 2014)
 and Merling v. Horizon Blue Cross Blue Shield of New Jersey, No. CIV. 04-4026
 (WHW), 2009 WL 2382319, at *12 (D.N.J. July 31, 2009), as demonstrating that “the
 bar for what constitutes plan interpretation is not a high one.” (Mot. at 19). Even if
 true, however, the Court is not bound by the reasoning of those decisions.

        The Court, however, is bound by Oregon Teamster Employers Trust v. Hillsboro
 Garbage Disposal, Inc. (“OTET”), No. 13-35555, --- F.3d ---, 2015 WL 5202383 (9th
 Cir. Sept. 8, 2015), in which the Ninth Circuit held that a breach of contract claim
 asserted by an ERISA plan fiduciary based upon a contractual reimbursement
 provision was preempted. In OTET, the court was evaluating, in relevant part,
 “[w]hether OTET, an Employer Health and Benefit Plan, governed by ERISA, can
 recover damages, on a breach of contract claim, against a business which received
 health care benefits for two ineligible employees.” Id. at *1. At issue were
 contributions made by OTET to Hillsboro Garbage, Inc. (“Hillsboro Garbage”)—
 which was made a subscriber to OTET by virtue of a collective bargaining agreement
 (“CBA”) entered into by the Hillsboro Garbage and Teamsters Local Union No. 305
 (the “Union”)—on behalf of two employees who were not employed by Hillsboro
 Garbage. Id. These individuals were instead employed by a separate company,
 RonJons Unlimited, Inc. (“RonJons”). Id. “Hillsboro Garbage and the Union agreed
 to be bound by the provisions of the Trust Agreement governing OTET. . . .” Id. “The
 Trust Agreement also authorize[d] OTET’s Trustees to enter into special agreements
 with Hillsboro Garbage under which OTET would provide health and welfare benefits
 for the company’s non-bargaining unit employees (the ‘NBU Agreements’).” Id. “The
 NBU Agreements specif[ied] that only individuals with a bona fide employment
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 relationship with Hillsboro Garbage are eligible to participate in OTET benefit plans.”
 Id.

        The OTET court distinguished a prior Ninth Circuit decision, McDowell, “which
 did not turn on whether the beneficiaries were eligible plan participants.” Id. at *3. In
 McDowell, the court held that an insurer’s breach of contract action against insured to
 recover payments pursuant to a reimbursement clause—which did not require
 interpreting the plan, or dictating or disputing the correctness of a benefits
 distribution— did not have the necessary “connection with” or “reference to” an
 ERISA plan. McDowell, 385 F.3d at 1172. In OTET, conversely, the court noted that
 “although analysis of the employment status of the two individuals and whether
 RonJons had entered the CBA is admittedly straightforward, analysis of the terms of
 the ERISA plan is nonetheless required.” OTET, 2015 WL 5202383, at *3.
 “Moreover, OTET alleged in its second amended complaint that Hillsboro Garbage
 breached the terms of the ERISA plan—not separate agreements.” Id.

        Certainly, OTET would be determinative here if United were asserting a breach
 of contract action against participants in order to receive damages instead of any
 equitable relief that might be recoverable under a comparable § 502(a)(3) claim.
 Further, the Court construes the Counter-Defendants’ Notice Regarding New Ninth
 Circuit Authority (Docket No. 213) as arguing that OTET stands for the proposition
 that any consultation of an ERISA plan is sufficient for a finding of express
 preemption. However, the circumstances in OTET are distinguishable from those
 before the Court. The Court is not evaluating the plan terms to establish whether any
 particular patients on whose behalf payments were made were eligible plan
 participants. Nor is the Court evaluating plan terms in order to gauge whether the
 misconduct alleged was a violation thereof. Indeed, this action is more analogous to
 McDowell, as United is attempting to obtain only a reimbursement of overcharged
 payments, and recovery neither depends on the interpretation of contested plan terms
 nor stems directly from an “ERISA-regulated relationship,” as it did in OTET. The
 case is therefore not dispositive of the issues facing the Court.
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       .

        Providers offer several arguments to the contrary. They first assert that “when
 read as a whole, the SACC clearly attempts to impose an affirmative duty upon
 Providers to disclose the alleged waivers of co-pays, because those activities were
 supposedly so crucial to the benefits provided under the plans.” (Mot. at 19). And
 because any “obligation that the defendants may have had to provide such information
 stems from the plan and not from an independent legal duty, the plaintiffs’ state-law
 cause of action for failing to disclose [the waivers] has ‘no basis whatsoever but for the
 ERISA plan[s].’” (Mot. at 19 (quoting Briscoe v. Fine, 444 F.3d 478, 500 (6th Cir.
 2006)) (internal quotation marks omitted)). But the Court is not persuaded. The duties
 United invokes are those imposed by state/common law, not the plans themselves.
 Indeed, United alleges not that the failure to disclose waiver of co-pay gives rise to
 breach of contract claim but that such conduct constitutes fraud and violates state law.
 Although Providers’ failure to adhere to these duties might influence benefit payments
 or the amount of benefits owed (as in the co-pay waiver theory), the duty itself does
 not arise from the plans.

        Moreover, the Court notes that Briscoe involved suit by former employees
 against several of their employer’s former officers and the third party administrator of
 the employer’s health plan, alleging that the defendants violated their fiduciary duties
 under ERISA and committed additional torts under Kentucky law. Briscoe, 444 F.3d
 at 482. The court held that fraud, misrepresentation and concealment claims alleging
 failure to disclose the financial condition of the plan were preempted, as it was clear
 that “any obligation that the defendants may have had to provide such information
 stems from the plan and not from an independent legal duty.” Id. at 499.

        Providers further argue that “[p]ermitting United’s state law claims to proceed in
 addition to its ERISA claims would . . . frustrate ERISA’s ‘exclusive remedial
 scheme.’” (Mot. at 19). Providers cite Lea v. Republic Airlines, Inc., 903 F.2d 624,
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 631 (9th Cir. 1990) as an example of a case holding that “‘state law claims in addition
 to the claims actionable under ERISA’ are impermissible.” (Mot. at 19-20 (quoting
 Lea, 903 F.2d at 631)).

         In Lea, former airplane pilots brought suit against Republic Airlines, Inc.
 (Republic) and the Air Line Pilots Association (ALPA), alleging “that Republic, their
 former employer, violated the Employee Retirement Income Security Act of 1974
 (ERISA), and that ALPA, their collective bargaining representative, violated ERISA
 and breached its duty of fair representation implied under the Railway Labor Act
 (RLA).” Lea, 903 F.2d at 626. The plaintiffs also brought claims for negligence,
 breach of contract, fraud, and equitable relief. Id. All of these claims were related to
 Republic and ALPA’s termination of the Pilots Retirement Plan, which was done
 pursuant to a Termination Agreement. Id. The suit alleged that “the Termination
 Agreement improperly denied [the plaintiffs] the additional retirement benefits that it
 accorded to active pilots.” Id. The Ninth Circuit affirmed the district court’s ruling
 that the asserted state and common law claims were preempted. Id. at 633. In doing
 so, the court referenced ERISA’s exclusive remedial scheme, 29 U.S.C. § 1132(a) and
 discussed Pilot Life Insurance Co. v. Dedeaux (“Pilot Life”), 481 U.S. 41, 56 (1987).
 Id. at 632.

        Pilot Life itself was a suit by an employee against the insurance company that
 issued his employer’s group insurance policy, alleging improper processing of benefits
 under the relevant ERISA-regulated plan. Pilot Life, 481 U.S. at 43. The complaint
 asserted claims for tortious breach of contract, breach of fiduciary duties, and fraud in
 the inducement. Id. The Supreme Court held that “[t]he common law causes of action
 raised in [the] complaint, each based on alleged improper processing of a claim for
 benefits under an employee benefit plan, undoubtedly meet the criteria for pre-emption
 under § 514(a).” Id. at 48.

        Moreover, the Pilot Life Court noted that, “[b]ecause in this case, the state cause
 of action seeks remedies for the improper processing of a claim for benefits under an
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 ERISA-regulated plan, our understanding of the saving clause must be informed by the
 legislative intent concerning the civil enforcement provisions provided by ERISA §
 502(a).” Id. at 51-52. In this vein, the Court noted that “[t]he Solicitor General . . .
 argue[d] that Congress clearly expressed an intent that the civil enforcement provisions
 of ERISA § 502(a) be the exclusive vehicle for actions by ERISA-plan participants and
 beneficiaries asserting improper processing of a claim for benefits, and that varying
 state causes of action for claims within the scope of § 502(a) would pose an obstacle to
 the purposes and objectives of Congress.” Id. at 52. The Pilot Life Court agreed with
 this assessment, looking to both the “language and structure of the civil enforcement
 provisions” and the “legislative history in which Congress declared that the pre-
 emptive force of § 502(a) was modeled on the exclusive remedy provided by § 301 of
 the Labor Management Relations Act, 1947 (LMRA), 61 Stat. 156, 29 U.S.C. § 185.”
 Id. As to the first of these, “[t]he deliberate care with which ERISA’s civil
 enforcement remedies were drafted and the balancing of policies embodied in its
 choice of remedies argue strongly for the conclusion that ERISA’s civil enforcement
 remedies were intended to be exclusive.” Id. at 54. Further, regarding the second, “the
 entire comparison of ERISA’s § 502(a) to § 301 of the LMRA, would make little sense
 if the remedies available to ERISA participants and beneficiaries under § 502(a) could
 be supplemented or supplanted by varying state laws.” Id. at 56.

        The Ninth Circuit noted in Lea that it did “not read Pilot Life to permit state law
 claims in addition to the claims actionable under ERISA,” and held that, consequently,
 “[c]laims relating to ERISA plans must . . . invoke the specific remedies of ERISA §
 502.” Lea, 903 F.2d at 631, 632.

        However, in both Lea and Pilot Life, the claims at issue were brought by plan
 participants against entities with benefit determination and distribution responsibilities,
 thus involving a central ERISA-regulated relationship. The claims, moreover,
 implicated the defendants’ improper distribution of benefits (also discussed below in
 connection with “complete” preemption)—an activity central to the ERISA remedial
 scheme. The same is simply not true here, where the claims only tangentially involve
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 the ERISA plans and therefore pose less danger, if any, to the overall functioning of
 ERISA regulation.

        Similarly, Providers cite to Tingey v. Pixley-Richards W., Inc., 953 F.2d 1124,
 1130-31 (9th Cir. 1992), as a case “preempting state causes of action ‘used to remedy
 exactly the type of illegal activity proscribed by ERISA.’” (Mot. at 20 (quoting
 Tingey, 953 F.2d at 1130-31)). In Tingey, a former employee brought suit against his
 former employer and group health insurer, alleging various state law claims in
 connection with his termination and the insurer’s refusal to allow him to convert his
 health policy. Tingey, 953 F.2d at 1127-29. The court noted that “a garden variety
 state law cause of action, not particularly troublesome in circumstances not involving
 employee benefits, may be preempted where it is used to remedy exactly the type of
 illegal activity proscribed by ERISA.” Id. at 1130-31 (citing Felton v. Unisource
 Corp., 940 F.2d 503, 510 (9th Cir. 1991)). The crux of the issues in both Tingley and
 Felton were that an employee had been fired so as to deprive him of benefits under the
 employer’s group health insurance contract. See Tingey, 953 F.2d at 1127-29, 1130-
 33; Felton, 940 F.2d at 507-10. The Felton court observed that “[b]ecause the Feltons’
 state suit sought to redress precisely the type of harm prohibited by § 510 of ERISA,
 the district court properly found their claims to be preempted.” Felton, 940 F.2d at
 510. The Tingey court adopted this reasoning to find the claims before it preempted.
 Tingey, 953 F.2d at 1131.

        Once again, however, Tingey and Felton involved a much more fundamental
 ERISA issue: suit by an employee against an employer seeking redress for the fact that
 the employee had been terminated so as to impact his benefits—activity explicitly
 contemplated and regulated by ERISA § 510. See also Dependahl v. Falstaff Brewing
 Corp., 653 F.2d 1208, 1215-16 (8th Cir. 1981) (holding, in suit involving claims
 brought by former executive officers against their former employer and new
 controlling shareholder, that ERISA preempted common law fraud and intentional
 interference with contractual relationship claims with regard to ERISA pension and
 welfare benefit plans).
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       Nor does the Court consider any assignments that Providers may have received
 dispositive under the facts before it. Although there may be assignments here, the
 conduct that was allegedly wrongful and caused purportedly improper payouts was not
 undertaken by a provider standing in the shoes of a patient; rather it was undertaken by
 a provider in submitting false bills (whether it ultimately received the purportedly
 wrongful payment because it was an assignee or because of a remitted payment by a
 patient originally obtained from United pursuant to the allegedly fraudulent bills).

        The Ninth Circuit has noted that “[i]t is with great trepidation that we tread into
 the field of ERISA preemption.” Dishman v. UNUM Life Ins. Co. of Am., 269 F.3d
 974, 980 (9th Cir. 2001). The Court recognizes the complexities and nuances of the
 necessary analysis here, but in reaching its conclusion, the Court continues to rely on
 the purpose behind § 514 and the nature of the conduct at issue in this case.

              2. “Complete” Preemption under § 502(a)

        Complete preemption demonstrates that the remedial scheme of 502(a) is to be
 “‘the exclusive vehicle for actions by ERISA-plan participants and beneficiaries
 asserting improper processing of a claim for benefits.’” Kanne v. Connecticut Gen.
 Life Ins. Co., 867 F.2d 489, 494 (9th Cir. 1988) (quoting Pilot Life Ins. Co., 481 U.S. at
 52).

        “Complete preemption under § 502(a) is ‘really a jurisdictional rather than a
 preemption doctrine, [as it] confers exclusive federal jurisdiction in certain instances
 where Congress intended the scope of a federal law to be so broad as to entirely
 replace any state-law claim.’” Marin General, 581 F.3d at 945 (quoting Franciscan
 Skemp Healthcare, Inc. v. Cent. States Joint Bd. Health & Welfare Trust Fund, 538
 F.3d 594, 596 (7th Cir. 2008)). “If a complaint alleges only state-law claims, and if
 these claims are entirely encompassed by § 502(a), that complaint is converted from

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 ‘an ordinary state common law complaint into one stating a federal claim for purposes
 of the well-pleaded complaint rule.’” Marin General, 581 F.3d 941at 945 (quoting
 Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 65-66 (1987)).

        State law claims are completely preempted by § 502(a) if (1) an individual, at
 some point in time, could have brought the claim under § 502(a); and (2) there is no
 other legal duty independent of ERISA or plan terms implicated by the defendant’s
 actions. Davila, 542 U.S. at 210. “A state-law cause of action is preempted . . . only if
 both prongs of the test are satisfied.” Marin General, 581 F.3d at 947.

        Here, the Court previously decided that United’s state law claims for fraud,
 violation of the UCL, and intentional interference were not completely preempted.
 (Docket No. 145 at 18-25).

         As to the fraud claim, the Court acknowledged the divergence of views among
 courts as to whether certain actions are taken “‘to enforce the terms of the plan’” under
 § 502(a)(3), such that the entity bringing the claim is a fiduciary and could have
 brought the claim pursuant to ERISA (Davila’s first prong). (Id. at 19 (citing United
 Healthcare Servs., Inc. v. Sanctuary Surgical Ctr., Inc. (“Sanctuary Surgical”), 5 F.
 Supp. 3d 1350, 1358-59 (S.D. Fla. 2014) (noting the divergence in approaches taken
 by district courts on the issue of whether a claim could have been brought by a
 fiduciary under § 502(a)(3))). The Court noted that many cases United had cited did
 not include §502(a)(3) claims, unlike this action. (Id. at 19-20). Moreover, “those
 courts found that § 502(a)(3) did not completely preempt the relevant state law claims
 for one of several reasons, including that the claims were not asserted by a party acting
 as a fiduciary (such that they could be asserted under § 502(a)(3)), or the damages
 recoverable under the asserted claim were unavailable under a § 502(a)(3) claim.” (Id.
 (citing Sanctuary Surgical, 5 F. Supp. 3d at 1359-60 (holding that “United’s conduct . .
 . fail[ed] to satisfy the first prong of the Davila test because it is not made to appear
 that United seeks ‘equitable relief’ to enforce the terms of the plans within the meaning
 of § 502(a)(3)”))). Ultimately, however, the Court concluded that it need not reach a
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 conclusion on the first Davila prong because both Davila prongs must be satisfied in
 order to find complete preemption, and the Court did not find the second prong met.
 (Id. at 20).

        In its analysis of the second Davila prong, the Court noted that United’s claim
 rested “on allegations that Providers made affirmative misrepresentations to United in
 submitting claims for reimbursement.” (Id. at 20). United did not “contend that the
 duty to provide truthful claims submissions hinges on the terms of the individuals
 plans.” (Id.). “Rather, ‘[t]hese claims [did] not rely on, and [were] independent of,
 any duty under an ERISA plan.’” (Id. (quoting Marin General, 581 F.3d at 949)).
 “While the question of what payments would have been justified may require
 consultation of the plans themselves,” the Court could not say that “the fraud claim
 was based on no duties independent of ERISA or plan terms.” (Id. at 21 (citing Ass’n
 of New Jersey Chiropractors v. Aetna, Inc., No. CIV.A. 09-3761 JAP, 2012 WL
 1638166, at *5-7 (D.N.J. May 8, 2012) (holding, in suit involving counterclaims
 brought by health insurer against providers alleging that providers misrepresented and
 over-billed for services, that counterclaims were not preempted because the claims
 were “based upon an independent duty . . . under New Jersey’s insurance fraud statute
 and common law” that “prohibit[s] providers from committing fraud, including
 submitting fraudulent bills to an insurer for payment”))).

         The Court acknowledged that “the plans dictate what services are covered and
 what reimbursement is proper for such services.” (Id. at 21). “The plans exclude
 services for certain procedures, meaning that alleged omission of excluded services in
 bills for otherwise permissible procedures could have caused improper benefit
 disbursements.” (Id.). “It is not unprecedented to find that claims arising out of
 activities such as miscoding are preempted.” (Id. (citing Blue Cross & Blue Shield of
 Rhode Island v. Korsen, 746 F. Supp. 2d 375, 381-84 (D.R.I. 2010) (holding, in suit
 brought by health insurer against providers alleging that providers intentionally
 miscoded services, that the insurer’s claims to recover overpayments were preempted
 and converted into § 502(a)(3) claims because “the crux of the dispute” involved a
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 benefits determination, and even though the providers’ agreements imposed duties on
 the defendants, they did not impose duties independent of ERISA))).

        Still, the Court pointed out that, in the context of § 502 complete preemption,
 Ninth Circuit has said that “‘[w]here the meaning of a term in the Plan is not subject to
 dispute, the bare fact that the Plan may be consulted in the course of litigating a state-
 law claim does not require that the claim be extinguished by ERISA’s enforcement
 provision.’” (Id. (quoting Blue Cross of California v. Anesthesia Care Associates Med.
 Grp., Inc., 187 F.3d 1045, 1051 (9th Cir. 1999))). The Court recognized that “[i]n
 Davila, the [Supreme] Court analyzed whether ERISA preempted claims brought
 pursuant to a Texas state law requiring that managed care entities exercise ordinary
 care when making benefit decisions.” (Id. at 21-22 (citing Davila, 542 U.S. at 204,
 212-13)). “This state law contained a provision stating that it did not require that
 managed care entities provide treatment for services not otherwise covered by the
 relevant health care plan.” (Id. at 22 (citing Davila, 542 U.S. at 213)). “As such, the
 [Supreme] Court found that ‘interpretation of the terms of [the relevant] benefit plans
 form[ed] an essential part of’ the asserted state law claim, and liability under the state
 law ‘would exist . . . only because of petitioners’ administration of ERISA-regulated
 benefit plans.’” (Id. (quoting Davila, 542 U.S. at 213)).

        In contrast, the Court concluded that the alleged misrepresentations in this case,
 “while linked to the plans in terms of damage calculation, [were] wrongful irrespective
 of the plan terms.” (Id.). The Court observed that “[t]his case does not present the
 same scenario analyzed in Davila, in which adherence to plan terms obviated any
 potential violation of the implicated state law.” (Id.). As such, the Court ruled that
 “the second Davila prong weigh[ed] against preemption.” (Id.). “Because both Davila
 prongs must be satisfied before a claim is completely preempted,” the Court held that
 Providers’ motion to dismiss United’s fraud claim on the basis of preemption failed.
 (Id.).

       The Court maintains these prior conclusions.
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        Providers’ authority to the contrary is distinguishable. For instance, in Cleghorn
 v. Blue Shield of California, 408 F.3d 1222, 1223 (9th Cir. 2005), a plan participant
 sued an insurer (Blue Shield), alleging violations of the UCL and the California
 Consumers Legal Remedies Act. The basis for this suit was that the participant had
 sought and received emergency medical services, and the insurer denied
 reimbursement; the participant’s UCL claim was premised on a violation of California
 Health and Safety Code § 1371.4(c), which discusses health care plans’ reimbursement
 for emergency services. Id. at 1223-24. The participant “asserted that this statute
 required Blue Shield to cover emergency treatment whenever the insured ‘reasonably
 believes that an emergency exists’ and that a requirement of pre-authorization in such
 cases is forbidden.” Id. (footnote omitted).

       The Ninth Circuit concluded that the state law claims asserted were completely
 preempted because “[t]he only factual basis for relief pleaded in [the] complaint is the
 refusal of Blue Shield to reimburse him for the emergency medical care he received,”
 and “[a]ny duty or liability that Blue Shield had to reimburse him ‘would exist here
 only because of [Blue Shield’s] administration of ERISA-regulated benefit plans.’” Id.
 at 1226 (quoting Davila, 124 S.Ct. at 2498).

        Here, in contrast, the duty to avoid deception in submitting fraudulent bills, etc.,
 stems from sources outside of ERISA; stated another way, the providers did not have
 an obligation to act in a particular way towards United due to the operation of an
 ERISA-regulated relationship. Rather, these obligations, and the alleged breach of
 these obligations, is premised upon state law that operates independently of any plans
 at issue.

        Similarly, in Melamed v. Blue Cross of California, 557 F. App’x 659, 660 (9th
 Cir. February 12, 2014), a provider sued Blue Cross of California and Anthem Blue
 Cross Life and Health Insurance Company, alleging that these defendants
 “systematically underpaid him as an out-of-network provider.” The Ninth Circuit
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 concluded that the provider’s “breach of implied contract claim [was] completely
 preempted because through that claim, [the provider sought] reimbursement for
 benefits that exist ‘only because of [the defendant’s] administration of ERISA-
 regulated benefit plans.’” Id. at 661. The court noted that, “[i]n the operative
 complaint, [the provider] allege[d] that as ‘a direct and proximate result of Defendants’
 breach of its obligations under the written contracts between Defendants and
 Defendants’ members, to which Plaintiffs are third-party beneficiaries, Plaintiffs have
 suffered damages.’” Id. The court concluded that “[b]ecause some of these ‘written
 contracts’ are ERISA plans, [the provider] is claiming that he is owed money under the
 terms of an ERISA plan,” which means that the claim is completely preempted under
 Cleghorn. Id.

       Melamed, in short, is distinguishable because a claim against an ERISA
 administrator to recover benefits on behalf of a plan participant pursuant to the terms
 of an ERISA plan is a quintessential example of a claim premised on ERISA duties.
 No such claims are present here.

        Finally, in Filler v. Blue Cross of California, 593 F. App’x 685, 685-86 (9th Cir.
 2015), providers sued Blue Cross of California, Anthem Blue Cross, and Anthem Blue
 Cross Life and Health Insurance Company for negligent entrustment, conversion, and
 interference with contractual relations. The provider had standing as an assignee of his
 patients’ benefits. Id. at 685-86. However, the Ninth Circuit concluded that his state
 law “claims were premised on recovering money owed to [the providers’] patients
 under an ERISA benefits plan, and thus fell ‘within the scope of ERISA § 502(a).’” Id.
 at 686 (citing Fossen v. Blue Cross & Blue Shield of Mont., Inc., 660 F.3d 1102, 1110
 (9th Cir. 2011)). The court further observed that “[t]he independent legal duties [the
 providers] alleged were merely attempts to ‘obtain relief by dressing up an ERISA
 benefits claim in the garb of a state law tort.’” Id. (quoting Fossen, 660 F.3d at 1110-
 11 (internal quotation marks omitted).


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       Once again, however, suit brought by a provider as an assignee of plan benefits
 against a plan administrator is distinguishable from the situation before the Court.

       E.     SPD Provisions

      Providers contend that United cannot enforce provisions contained only in
 SPDs. (Mot. at 20).

        “ERISA requires welfare benefit plans to be established and maintained pursuant
 to a written instrument. 29 U.S.C. §§ 1102(a)(1), 1102(b). In addition, an employer
 must provide employees with a written Summary Plan Description (‘SPD’) which
 describes the employees’ plan. 29 U.S.C. § 1022(a)(1).” Pisciotta v. Teledyne Indus.,
 Inc., 91 F.3d 1326, 1329 (9th Cir. 1996).

        An SPD is the “statutorily established means of informing participants of the
 terms of the plan and its benefits.” Alday v. Container Corp. of Am., 906 F.2d 660,
 665 (11th Cir. 1990) (citing 29 U.S.C. §§ 1022(a) and 1102; 29 C.F.R. § 2520.102–2).
 The rule in the Ninth Circuit used to be that an SPD is a plan document that ought to be
 considered when interpreting an ERISA plan. Bergt v. Ret. Plan for Pilots Employed
 by MarkAir, Inc., 293 F.3d 1139, 1143 (9th Cir. 2002) (noting that 29 U.S.C. §
 1104(a)(1)(D) requires plan fiduciaries to act “solely ‘in accordance with the
 documents and instruments governing the plan,’” “[e]mployers are required to furnish
 a copy of the SPD (not the master plan document)” pursuant to 29 U.S.C. § 1022(a)-
 (b), and the SPD is the “‘statutorily established means of informing participants of the
 terms of the plan and its benefits,’” and that, therefore, the Ninth Circuit would follow
 other courts that have held that the SPD is part of the ERISA plan) (citations omitted);
 see also Pisciotta, 91 F.3d at 1330 (granting motion for summary judgment as to an
 alleged obligation when the document purportedly containing that obligation was not
 an SPD, and therefore no plan documents in the record supported the allegations).



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        However, the Supreme Court’s decision in Cigna Corporation v. Amara, --- U.S.
 ---, 131 S.Ct. 1866 (2011) has shifted the landscape. In Amara, the Court clarified that
 SPDs make statements “about the plan, but . . . their statements do not themselves
 constitute the terms of the plan for purposes of § 502(a)(1)(B).” Id. at 1878 (emphasis
 in original). A recent decision by a court in this District discussed the impropriety of
 relying on Bergt in light of Amara. See Mull v. Motion Picture Indus. Health Plan, ---
 F. Supp. 3d ---, 2014 WL 4854548 (C.D. Cal. Sept. 30, 2014) (“The Court cannot
 follow [the statement that the SPD is a plan document and should be considered when
 interpreting an ERISA plan] in Bergt, because it was effectively overruled by Amara’s
 holding [that SPDs, by themselves, do not constitute the terms of the plan].”).

        In Eugene S. v. Horizon Blue Cross Blue Shield of N.J., a case involving denial
 of residential treatment costs under a benefits plan, the Tenth Circuit applied Amara in
 deciding whether a plan administrator was entitled to deferential review under the
 terms of the relevant plan. Eugene S., 663 F.3d at 1131 (10th Cir. 2011). The Eugene
 S. court viewed Amara as providing one of two propositions under the facts of that
 case: “(1) the terms of the SPD are not enforceable when they conflict with governing
 plan documents, or (2) the SPD cannot create terms that are not also authorized by, or
 reflected in, governing plan documents.” Id. However, the court did not need to
 follow either proposition, since it decided that the language of the relevant SPD was
 the language of the plan. Id. The court did note, however, that a district court can only
 rely on the language of an SPD once it has concluded that the SPD is part of the
 underlying plan. Id.

        In contrast, in Zalduondo v. Aetna Life insurance Company, 941 F. Supp. 2d
 125, 133-34, 136 (D.D.C. 2013), the court evaluated a less clear-cut situation than
 Eugene S. Namely, an SPD that was in evidence provided Aetna with discretion, but
 the plan documents themselves were not in evidence, and the SPD contained a
 disclaimer that it is not the verbatim language of the plan (though it did not “expressly
 un-incorporate the SPD from the Plan”). Zalduondo, 941 F. Supp. 2d at 133-36. As
 such, the court noted that it “may eventually rely on the terms in the SPD . . . but only
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 after the SPD and the official Plan document are before the Court so that the parties
 may argue, and so that the Court may decide, whether the Firestone discretionary
 standard of review applies and whether Zalduondo was inappropriately denied benefits
 under the terms of the Plan.” Id. at 136 (emphasis in original). The court, accordingly,
 denied Aetna’s motion for summary judgment without prejudice and ordered the plan
 documents to be produced. Id. See also McCravy v. Metro. Life Ins. Co., 690 F.3d
 176, 182 n.5 (4th Cir. 2012) (“We note that, per Amara, ‘summary documents,
 important as they are, provide communication with beneficiaries about the plan, but
 that their statements do not themselves constitute the terms of the plan. . . .’ The
 record before us reflects, and the parties at oral argument confirmed, that only the
 summary plan document, and not the plan itself, was before the district court and
 before us. Because McCravy’s claims and MetLife’s defenses depend upon the
 contents of the plan, their resolution on remand will require the actual plan
 documents.”) (citations omitted).

      The Court bears these issues in mind while evaluating the parties’ SPD-related
 arguments.

              1. Plans Without Recoupment Provisions

        Providers note that “the SACC only alleges that 7 of the 29 United Members’
 benefit plans contain ‘reimbursement’ provisions,” and add that “it appears that all of
 the cited SACC allegations appear to be directly quotes from SPDs, not plan
 documents.” (Mot. at 23 (citing SACC ¶¶ 111, 129, 137, 179, 260, 318, 340 (United
 Members 8, 16, 17, 22, 5, 1, and 9, respectively))). Accordingly, Providers contend
 that these terms are unenforceable and “seek dismissal, or in the alternative, summary
 adjudication, on all ERISA plan terms that are not contained in the governing plans.”
 (Id.).

        United, however, argues that “[a]lthough the Providers’ submission (see Gordon
 Decl., App’x A) insinuates that only 7 of the 29 plans therein include this recoupment
 language, this list only includes the recoupment language quoted in the SACC.” (Opp.
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 at 25). United contends that it “was not purporting to allege terms from each plan, but
 rather, it identified the specific language of these 7 plans as representative, and then
 alleges that such plans ‘typically’ include materially indistinguishable language.” (Id.
 (citing SACC ¶ 504)). United posits that “[t]he Providers ignored this allegation even
 though the Court previously found it was sufficient to state an ERISA claim,” and
 further, asserts that, “[l]ooking at the documents for the 29 plans the Providers attach
 excerpts of, every one includes relevant recoupment language” (id.)—“[t]he Providers
 merely neglected to attach or cite to the relevant pages” (id. (citing Holly Decl. ¶¶ 6-
 27)).

       As to recoupment language, the SACC alleges:

              The ERISA Plans in question typically include language
              requiring that any overpayments that are made to patients, or
              (on their behalf) to providers must be returned. For example,
              one typical ERISA Plan states that “[t]he Plan reserves the right
              to recover any payments made by the Plan that were . . . [m]ade
              in error; or . . . [m]ade to any Covered Person or any party on a
              Covered Person’s behalf where . . . the payment to the Covered
              Person or any party is greater than the amount payable under
              this Plan. The Plan has the right to recover against Covered
              Persons if the Plan has paid them or any other party on their
              behalf.”

 (SACC ¶ 504).

       Despite the fact that any particular example may refer to an SPD or that
 Providers may have received SPDs containing these provisions, the fact remains that
 United has alleged that these terms are typically contained in “[t]he ERISA Plans in
 question.” (SACC ¶ 504).

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        The Court’s prior analysis regarding fiduciary status is instructive. In that
 instance, the Court detailed the FACC’s allegations of the types of discretionary
 authority granted to United in various example documents, and then noted that “[t]he
 FACC, moreover, alleges that ‘[t]hese, or materially indistinguishable, terms are
 included in the Plan documents and ASAs for all (or virtually all) of the ERISA Plans
 included in Appendix I.’” (Docket No. 145 at 6). The Court concluded that “[t]hese
 allegations are sufficient at the present stage of the litigation to establish standing as a
 fiduciary under ERISA § 502(a)(3).” (Id.).

        The Court applies similar reasoning here to the issue of these particular terms.
 The Court further recognizes that, even if particular documents referenced are SPDs,
 the thrust of the allegations in the SACC, when taken in a light most favorable to
 United, are that these terms are contained within the relevant plans. To the extent that
 any particular plan ultimately is found not to contain the relevant language, United’s
 recovery on corresponding theories of relief will presumably be affected. However,
 based on the allegations as they currently stand, the Court does not make such a ruling
 at present.

        In a related Almont case (No. CV 14-2139-MWF(VBKx)), the Court declined to
 allow the defendants (United, as well as several employers and the plans they sponsor)
 to rely solely on SPDs to dismiss claims against them. (See Case No. 14-2139-
 MWF(VBKx) Docket No. 1396 at 71-72). This decision was driven by the Supreme
 Court’s language in Amara regarding the role of SPDs, as well as consideration of the
 fact that dismissal of claims alleged in the FAC on the basis of documents which may
 or may not reflect the terms of a given plan would be premature. The situation here is
 vastly different. Taking all allegations in the SACC as true, the Court must presume
 that the plans at issue contain the reimbursement language, thereby plausibly entitling
 United to relief. In the related case, United was not entitled to the same presumption
 as it was the one moving to dismiss on the basis of documents which were not in the
 record. The results in both cases are therefore entirely consistent.

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        Providers note that “[i]n connection with the Jointly Represented Defendants’
 production of plan documents in the parallel Almont case, the Providers’ counsel asked
 Dorsey & Whitney to also produce all the plan documents for the benefit plans for all
 of the SACC’s 29 United Member exemplar patients,” which United agreed to do, but
 “only to the extent such documents were in its possession and control.” (Declaration
 of Bridget A. Gordon (“Gordon Declaration” (Docket No. 168-2) ¶ 4 (citing Case No.
 14-2139-MWF(VBKx) Docket No.1464)). Providers further acknowledge that
 “United’s counsel has not certified that their production of plan documents for the
 exemplar patients is complete,” though they go on to note that “on May 29, 2015, they
 represented to the Providers’ counsel that they had already produced plan documents
 for 39 of out of 40 exemplar patients alleged in the SACC, and that they would make
 ‘best efforts’ to produce any remaining plan documents for such plans ‘in United’s
 possession or control’ by June 8, 2015. (In addition to the 29 United Members
 identified in the SACC, Appendix II identifies a number of toher unique exemplar
 patients, which brings the total to 40).” (Gordon Decl. (Docket No. 168-2) ¶ 5).
 Providers similarly argue in the Reply that incorporation by reference is applicable
 here, given that “United cannot credibly dispute the authenticity of the plan documents
 filed in the supporting declarations in this case given that they have already verified the
 authenticity of those same in the main Almont action.” (Reply at 23 (emphasis
 removed)).

        United observes that “the Providers’ attempt to upend United’s ERISA claims
 through challenges to United’s allegations that many of the relevant plans contained
 ‘coverage negating’ language, and that nearly all of them contained ‘recoupment’
 language allowing United to recover overpayments made to the Providers in violation
 of the plan.” (Opp. at 23-24 (citing SACC ¶¶ 99, 504)). United contends that “[s]uch
 evidentiary challenges have no place in a Rule 12 motion to dismiss, especially where
 United has specifically pled that such terms are included in the exemplar plans
 referenced in the SACC, as well as the other plans it administers.” (Id. at 24 (citing
 SACC ¶¶ 111, 129, 137)).

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        The Court agrees, particularly in light of the seemingly undeveloped record in
 this case as to what constitutes a particular plan. The Court recognizes that there may
 be some overlap in plan documents between this and the Almont case Providers
 reference. Moreover, the Court has considered the Declaration of Bridget A. Gordon
 in Support of the Provider Counter-Defendants’ Reply Brief (Docket No. 199-1),
 which purports to match up the Holly Declaration in this case and the declarations filed
 in Almont Case No. CV14-2139 MWF(VBKx). However, there has not been a full
 production or authentication of documents in this case. At this stage, the Court
 declines to ignore the allegations in the SACC in favor of the documents cited, though
 these documents may ultimately prove relevant to the action at a later date. United has
 alleged that the plans involved in this action properly include recoupment language—
 no more is required to survive a motion to dismiss.

              2. Coverage-Negating Provisions

        Providers argue that “United cannot enforce alleged provisions that United
 claims supposedly ‘negate’ coverage when co-pays are not collected, but are only
 contained in an SPD, not the plan.” (Mot. at 21). Further, Providers argue that “even
 in the two plan documents identified, the provision is not enforceable because it falls
 afoul of ERISA’s doctrine of reasonable expectations.” (Id. at 22 (citing Scharff, 581
 F.3d at 904).

                    a. SPDs

        As to the SPD argument, United asserts that “[r]elying on plan documents that
 were produced in connection with this Court’s April 22, 2015, Order in the related
 action, Almont Ambulatory, et al. v. UnitedHealth Group, Incorporated, et al, No. 14-
 cv-2139, [Dkt. No. 1418], the Providers argue that in 16 of 29 instances, the ‘coverage
 negating’ language is found in a document described as a Summary Plan Description
 (‘SPD’), and is therefore insufficient.” (Opp. at 24)


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        United posits that “[t]his argument, however, ignores authorities recognizing that
 in many instances, the SPD is the only plan document and that in any event, its terms
 can be ‘plan terms’ even when there are other documents that comprise the plan.” (Id.
 (footnote omitted)). United asserts that “[t]his is true even where (as the Providers
 allege occurred here) the SPD refers to other plan documents whose terms may take
 precedence.” (Id. (citing Rhea v. Alan Ritchey, Inc., 2015 WL 1456210, *3 (E.D. Tex.
 Mar. 30, 2015)). Finally, United contends that “[a]lthough United was required to
 produce for the Providers the entire plan document for its motion to dismiss the
 Providers’ claims based on plan terms, nothing in the Court’s April 22 2015, Order
 suggested that United was conversely obligated to allege anything more than the
 relevant terms of the applicable plans, which it has done.” (Id. at 24-25 (footnote
 omitted)).

       As to coverage negating language, the SACC alleges:

              In addition, most health plans insured or administered by
              United contain provisions do not cover any services that are
              accompanied by a provider’s promise to waive Member
              Responsibility Amounts. For example, the Plan
              Document for the AARP Employees’ Welfare Plan provides,
              “In the event that a non-Network provider waives Copayments
              and/or the Annual Deductible for a particular health service, no
              Benefits are provided for the health service for which
              the Copayments and/or Annual Deductible are waived.”
              Similarly, the benefits plans for Belmont Village LP, Boston
              Market Corp., and Informa USA, Inc., among many others,
              contain an identical or nearly identical provision. Meanwhile,
              other plans such as ADP Totalsource, Inc., American Building
              Supply, and Apple, Inc. do not cover “[h]ealth services for
              which you have no legal responsibility to pay, or for which a
              charge would not ordinarily be made in the absence of coverage
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              under the policy,” such as when the provider agrees to accept
              whatever payment the insurance company will pay as full
              payment for all services. Most other plans contain substantially
              identical language.

 (SACC ¶ 99).

       As above, the Court is concludes that these allegations are sufficient at present to
 survive a motion to dismiss. Providers’ arguments may be addressed at a later
 juncture, after the parties have sufficient opportunity to develop the record through
 discovery.

                    b. Reasonable Expectations

        Providers further argue that coverage negating provisions cannot be enforced
 due to the doctrine of reasonable expectations. (Mot. at 22). United retorts that this
 “doctrine should not apply to self-funded ERISA plans” (Opp. at 24 n. 25 (citing
 Scharff, 581 F. 3d at 903-904)), and, “[i]n any event, the SACC repeatedly cites to
 numerous plan terms that unambiguously preclude coverage when (for example) a
 ‘non-Network provider waives the Annual Deductible or Coinsurance amounts’” (id.
 (citing SACC ¶ 146)).

        In Sharff, the Ninth Circuit noted that it had “incorporated the reasonable
 expectations doctrine into ERISA federal common law when . . . interpret[ing] insured
 plans.” Scharff, 581 F. 3d at 905 (emphasis added). The doctrine may be summarized
 as follows:

              Under the so-called “doctrine of reasonable expectations,”
              which is often applied in interpreting or construing policies of
              insurance, the meaning of an insurance policy is determined in
              accordance with the reasonable expectations of the insured. In
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              other words, the meaning of the terms in an insurance policy is
              to be determined by considering it in light of whether a
              reasonable person in the position of the insured would expect
              coverage. The term “insured’s reasonable expectations” refers
              to what a hypothetical reasonable insured would glean from the
              wording of the particular policy and kind of insurance at issue,
              rather than how a particular insured who happened to buy the
              policy might understand it.

 Id. The court then recognized that Ninth Circuit authority was in tension as to whether
 the doctrine applied to self-funded plans. Id. at 906 (citing Winters v. Costco
 Wholesale Corp., 49 F.3d 550 (9th Cir. 1995) and Estate of Shockley v. Alyeska
 Pipeline Service Co., 130 F.3d 403, 407 (9th Cir. 1997)). Nevertheless, the court went
 on to assume, without deciding, that doctrine applies, and concluded that the SPD in
 question “met plan participants’ reasonable expectations, in addition to fulfilling the
 statutory and regulatory requirements.” Id.

        Here, Providers argue that the Time Warner plan “contains a cryptic and
 legalistic provision stating that there is no coverage for ‘charges that would not have
 been made if [the member] didn’t have this coverage’ or ‘charges [the member] is not
 legally required to pay.’” (Mot. at 22 (citing SACC ¶ 367)). Providers point out that
 the AT&T plan contains similar language. (Id. (citing SACC ¶¶ 296, 302)). This
 action involves both self-funded and fully-insured plans (see Opp. at 7; Appendix I),
 and because it appears that both Time Warner and AT&T have self-funded plans, it
 unclear whether the reasonable expectations doctrine applies.

        Nevertheless, Providers argue that “[a]n ordinary beneficiary would not expect
 that [a provision such as that cited above] would nullify all benefit coverage if a co-pay
 was waived,” and cite North Cypress Medical Center Operating Co., Ltd. v. CIGNA
 Healthcare (“North Cyprus”), 781 F.3d 182 (5th Cir. 2015) in support of this position.
 (Mot. at 22).
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        North Cyprus involved “an insurer’s obligation to pay a hospital for medical
 services provided to insured patients.” North Cyrus, 781 F.3d at 186. The hospital
 sued the insurer, alleging that it had been underpaid for covered services. Id. The
 insurer counter-claimed, arguing that it had paid the out-of-network hospital more than
 it was owed, and that the hospital did not charge patients for coinsurance, but billed the
 insurer as if it had. Id. The case involved thousands of plans, some of which were
 self-funded, others of which were fully-insured. Id. at 187. The district court
 dismissed the hospital’s ERISA claims for lack of standing, dismissed the insurer’s
 ERISA claims as time-barred, and granted summary judgment against the hospital’s
 breach of contract claims. Id. at 190-91.

        The Fifth Circuit evaluated the insurer’s argument a plan provision stating
 “payment for the following is specifically excluded from this plan: . . . charges for
 which you are not obligated to pay or for which you are not billed,” means that the
 plan member would have no coverage if she were not charged for coinsurance was
 “‘legally correct’ or otherwise within its discretion.” Id. at 195-96. The court
 observed that the proper inquiry in this regard would proceed in two steps: (1) the court
 would inquire whether the interpretation is “legally correct” (which includes an
 analysis of “whether [the insurer’s] ‘interpretation is consistent with a fair reading of
 the plan[s]”); and (2) whether the insurer, “nevertheless had discretion to absolve itself
 of responsibility for payment of the greater part of thousands of claims.” Id. (citations
 omitted). Finally, if the insurer’s “interpretation was found to be either legally correct
 or within its discretion, a determination would also be required as to whether its
 sweeping response to [the hospital’s] charges was based on ‘substantial evidence.’” Id.
 (footnote omitted).

        The court stated that “[t]here [were] strong arguments that [the insurer’s] plan
 interpretation is not ‘legally correct,’” but ultimately did not make a final
 determination because the district court had not had an opportunity to “address the

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 merits on this record of the many varied claims,” due to its dismissal of the hospital’s
 ERISA claims on standing grounds. Id. at 197.

        Here, United’s interpretation of the plan provisions is at least plausible, and no
 more is required at this juncture. Especially in light of the uncertainty of whether the
 doctrine of reasonable expectation applies to the particular plans, the coverage
 negating language discussed above (see SACC ¶ 99), and the lack of insight into what
 the plans at issue provide as a whole, the Court is not prepared to rule that United’s
 interpretation of various terms requires dismissal.

                     c. Two Types of “Coverage-Negating” Provisions

        Providers argue that “United alleges two distinct ‘coverage negating’
 provisions.” (Mot. at 22). One is “the ‘not legally required to pay’” variety, while the
 other “states that a plan does not provide benefits in the event a provider waives
 copays.” (Id.). Providers assert that “[m]any of the United Members’ SPDs alleged in
 the SACC contain both varieties, while others only contain one kind of provision or not
 the other,” and argue that “[t]hey cannot mean the same thing, especially under the
 doctrine of reasonable expectations.” (Id.). Therefore, Providers argue that “these
 provisions, even if valid, cannot be enforced.” (Id.).

        In light of its conclusions above, the Court does not find it necessary to address
 this argument at present.

       F.     ERISA Claims

         Pursuant to § 502(a)(3), “a plaintiff who is a ‘participant, beneficiary, or
 fiduciary’ must prove both (1) that there is a remediable wrong, i.e., that the plaintiff
 seeks relief to redress a violation of ERISA or the terms of a plan; and (2) that the
 relief sought is ‘appropriate equitable relief’ . . . .” Gabriel, 773 F.3d at 954 (citations
 omitted). It is true, therefore, that in a claim brought under § 502(a)(3), “[t]he
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 complaining party must seek ‘equitable, rather than legal relief.’” Paulsen, 559 F.3d at
 1075 (quoting Reynolds Metals Co. v. Ellis, 202 F.3d 1246, 1247 (9th Cir. 2000)). “In
 assessing whether a claim for ‘equitable’ relief has been properly brought under
 ERISA, we look to the ‘substance of the remedy sought . . . rather than the label placed
 on that remedy.’” Id. (quoting Mathews v. Chevron Corp., 362 F.3d 1172, 1185 (9th
 Cir. 2004)).

        In Sereboff v. Mid Atlantic Medical Services, Inc. (“Sereboff”), 547 U.S. 356,
 363-65 (2006), the Supreme Court discussed that equitable relief pursuant to ERISA
 § 502(a)(3) can include the imposition of an equitable lien or constructive trust over
 assets alleged to have been wrongfully transferred. The Court noted that
 § 502(a)(3)(B) had been interpreted to allow only “‘those categories of relief that were
 typically available in equity.’” Id. at 361 (quoting Mertens v. Hewitt Assocs., 508 U.S.
 248, 256 (1993)). The Court also discussed its prior opinion Great–West Life &
 Annuity Ins. Co. v. Knudson (“Knudson”), 534 U.S. 204 (2002), in which it noted that
 “‘not all relief falling under the rubric of restitution [was] available in equity.’” Id.
 (quoting Knudson, 534 U.S. at 212). Rather, in Knudson, the Court evaluated what
 would have been done in the days of a divided bench, stating that “for restitution to lie
 in equity, the action generally must seek not to impose personal liability on the
 defendant, but to restore to the plaintiff particular funds or property in the defendant’s
 possession.” Knudson, 534 U.S. at 212-14. The Sereboff Court also distinguished
 between the tracing rules required for equitable lien by agreement as opposed to
 equitable restitution, with the latter traditionally requiring a claimant to trace the
 property back to its own possession. Sereboff, 547 U.S. at 364-65; see also Bilyeu v.
 Morgan Stanley Long Term Disability Plan, 683 F.3d 1083, 1092 (9th Cir. 2012), cert.
 denied sub nom. First Unum Life Ins. Co. v. Bilyeu, 133 S. Ct. 1242, 185 L. Ed. 2d 178
 (2013). Ultimately, Sereboff found that the relief Mid Atlantic Medical Services, Inc.
 sought—certain funds recovered in a tort settlement and set aside in an investment
 fund—were properly classified as equitable. Sereboff, 547 U.S. at 369.


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       Bearing in mind this distinction between legal and equitable relief, and
 cognizant of the fact that § 502(a)(3) claims do not provide for legal damages, the
 Court evaluates the parties’ arguments.

              1. Equitable Restitution

        Providers observe that equitable restitution available under ERISA takes the form
 of either a constructive trust or an equitable lien, and note that recovery under either
 theory requires a plaintiff to “show that the sums sought are still in the defendant’s
 possession or control.” (Mot. at 23 (citing Great-W. Life & Annuity Ins. Co. v.
 Knudson, 534 U.S. 204, 209 (2002)). However, Providers argue that United fails to
 state a claim for equitable restitution because “[t]he SACC fails to allege that the
 specific payments that United seeks are still in the Providers’ possession or control.”
 (Id.).

       United argues that “[t]he Court previously held, however, that the ‘tracing’
 allegations in the FACC were sufficient to state a claim under ERISA § 502(a)(3), see
 [Docket No. 145] at 54, and the SACC goes further.” (Opp. at 22). Specifically,
 United asserts that:

              [The SACC] alleges that the money that United seeks to
              recover was originally owned by the plans. Due to the
              Providers’ fraud, that money was deposited in bank accounts
              controlled by the Providers, and those sums either remain in
              those bank accounts, were transferred into other accounts
              controlled by the Providers, or were used to purchase property.
              SACC ¶¶ 510-11. The SACC goes further and specifically
              alleges that approximately 70% of the fraudulently obtained
              overpayments were deposited into Wells Fargo bank accounts
              controlled by the Providers, and either remain in those
              accounts, or (as alleged in sealed portions of the SACC) were
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             transferred to other accounts or were used to purchase property.
             Id. ¶¶ 420(a); see also id. ¶¶ 431, 510-11. The fact that such
             assets have been comingled with other assets does not, of
             course, preclude United from recovering them. See Bilyeu, 683
             F.3d at n. 6; Restatement (3d) of Restitution §§ 58-59.

 (Opp. at 22 (footnote omitted)).

        For an equitable lien by agreement, the Ninth Circuit has made clear that the
 type of tracing necessary “simply allows a plaintiff to trace the specific property or a
 particular fund when the defendant has either commingled it with the defendant’s other
 assets or exchanged it for other property.” Bilyeu, 683 F.3d at 1096 n. 6.

       Providers’ argue that some of the funds in identified accounts were allegedly
 spent on services, rather than property, and that United has failed to “plausibly allege
 that each individual payment set forth on Appendix I is still in the Providers’
 possession, and has not been dissipated.” (See Mot. at 23-24). Providers cite to SACC
 ¶¶ 431-33 as examples of allegations that the Counter-Defendants have dissipated
 millions of dollars on personal and business expenses. (Mot. at 23). As a matter of
 course, funds are no longer traceable if they were spent on services and non-tangible
 expenses. See, e.g., Wong v. Aetna Life Ins. Co., 51 F. Supp. 3d 951, 953 (S.D. Cal.
 2014) (on summary judgment, finding that Bilyeu prongs were not satisfied when
 “‘[the claimant] asserts, and [the claims administrator] has not refuted, that [the
 claimant] has spent the overpaid benefits’” (citations omitted)); Rashiel Salem
 Enterprises LLC v. Bunton, No. CV-11-08202-PHX-NVW, 2013 WL 3581723, at *1
 (D. Ariz. July 12, 2013) (concluding that summary judgment would be appropriate
 when a plan could not show that overpaid funds were in the beneficiary’s possession,
 and summarizing Bilyeu as holding that “equitable relief was not available to the
 fiduciary even when the specific funds are not within the beneficiary’s possession
 simply because the beneficiary spent them all” (citing Bilyeu, 683 F.3d at 1094)). The
 Court is mindful that United will not be able to recover against Counter-Defendants’
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 general assets under a § 502(a)(3) claim, as this would be “quintessentially legal, rather
 than equitable, relief.” Bilyeu, 683 F.3d at 1094.

         The fact remains, however, that United properly alleged that the “some or all”
 overpayments are still in possession or control of Providers. The SACC states the
 payments were deposited into Providers’ Wells Fargo accounts, and they either remain
 there to this day or have been transferred to other accounts controlled by Providers.
 (SACC ¶¶ 510-11). And to the extent any money was spent, United alleges that it
 exchanged for property that is also is possession or control of Providers. (Id. ¶ 511). It
 could be that some portion of the overpayments has been dissipated, and some
 allegations in the SACC support that conclusion. (Id. ¶¶ 431-33). But simply because
 some funds have been dissipated, United is not precluded from recovering the funds
 that have not. In any event, the allegations contained in paragraphs 510-512 make it at
 least plausible that United may properly obtain equitable restitution of the
 overpayments.


              2. Equitable Lien by Agreement

        In Bilyeu, the Ninth Circuit applied Sereboff and Knudson in the context of an
 ERISA 502(a)(3) claim, and distinguished between the equitable recovery of specific
 funds in a defendant’s possession and the legal remedy of damages recovered from
 general assets. Bilyeu, 683 F.3d at 1093-94. Because ERISA § 502(a)(3) allows only
 for equitable relief, the Ninth Circuit held that tracing of specific assets is necessary in
 order to validate the propriety of relief sought. Id. at 1094-97. However, the Bilyeu
 court also noted that the recovery of equitable relief is not foreclosed merely because
 the funds sought have been “commingled . . . with the defendant’s other assets or
 exchanged . . . for other property.” Id. at 1096 n. 6. Rather, in order to secure an
 “equitable lien by agreement in an ERISA action,” a plaintiff must demonstrate: (1) “a
 promise by the [defendant] to reimburse the fiduciary for benefits paid under the plan
 in the event of a recovery from a third party”; (2) that the reimbursement agreement
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 specifically identifies a particular fund that is distinct from the defendant’s general
 assets; and (3) that the funds identified are still in the defendant’s possession and
 control. Id. at 1093-94 (citing Sereboff, 547 U.S. at 363-64).

        Providers argue that United has failed to plead an equitable lien by agreement
 because the SACC: (1) does not allege an “agreement” with Providers; (2) and fails to
 satisfy equitable tracing requirements. (Mot. at 24-25).

       United, however, notes that, “[a]s this Court has already found, United has
 properly alleged such a claim under Bilyeu v. Morgan Stanley Long Term Disability
 Plan, 683 F. 3d 1083 (9th Cir. 2012)” and observes that “[t]his Court has already held
 that United’s allegations satisfy Bilyeu’s requirement that it identify a promise by the
 beneficiary to reimburse the plan for overpayments.” (Opp. at 20). United contends
 that “[a]t a minimum, even the Providers acknowledge that this requirement is satisfied
 to the extent that they received payments pursuant to a ‘valid assignment of benefits,’
 Provider Mot. at 24, and they acknowledge, at least in some instances , they submitted
 claims pursuant to a valid assignment.” (Id.). Moreover, United posits that “the same
 logic should apply to claims submitted pursuant to an ‘authorized representative’ form
 pursuant to which a provider agrees to represent the patient and take assets in their
 name,” and, further, “so long as the plan includes a proper agreement with the
 participant to return assets, the fact that those assets are in the hands of a third party is
 irrelevant—the equitable interest still exists.” (Id. at 20-21 (footnote omitted)).

       Finally, United argues that “as the Court previously held, United has alleged facts
 satisfying the second and third requirements of Bilyeu”: (1) “United has properly
 alleged that it is seeking reimbursement of a specifically identified fund—the
 overpayments made to the Providers” (id. at 21(footnote omitted) (citing Docket No.
 145 at 51-52)); and (2) “United has alleged facts sufficient to demonstrate that the
 Plaintiffs are still in possession or control of these assets, or are in control of assets that
 can be ‘traced’ from these assets” (id. (citing Docket No. 145 at 52-53)).

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                     a. Agreement

       As to an agreement between Providers and United, the Court previously
 analyzed the issue as follows:

              United alleges that “[t]he ERISA Plans in question typically
              include language requiring that any overpayments that are made
              . . . must be returned,” which, when coupled with the prior
              allegations, would suggest satisfaction of the first Bilyeu
              prong. (FACC ¶ 323). This would appear to be particularly true
              in instances involving valid assignments. In situations lacking
              assignments, the issue becomes more difficult. However, as the
              parties have disputed primarily the second and third prongs of
              the Bilyeu test, the Court need not analyze at present to what
              extent claims not involving valid assignments might
              nevertheless fall within the equitable lien by agreement
              analysis.

 (Docket No. 145 at 52). Here, United appears to be arguing that valid assignments,
 authorized representative forms, and the mere possession of wrongful payments all
 satisfy Bilyeu’s first requirement. (Opp. at 20-21).

        The Court is reluctant to accept United’s argument that the categories other than
 valid assignments can create the requisite “promise” between United and Providers
 here. Specifically, United argues that “so long as the plan includes a proper agreement
 with the participant to return assets, the fact that those assets are in the hands of a third
 party is irrelevant—the equitable interest still exists.” (Opp. at 21 (footnote omitted)).
 The only case United cites in support of this assertion is Rashiel Salem Enters. v.
 Bunton, 2013 WL 3581723 (D. Ariz. July 12, 2013). In that case, however, the
 relevant “promise to reimburse” was a provision in an SPD stating that a beneficiary
 would be required to repay any overpayment, and the party being held to the promise
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 was an ERISA defined benefit plan participant (though she was not the party who had
 received the overpayments); the benefits in question had been theoretically disbursed
 to her, though this disbursement was actually the result of actions by a person who had
 secured a disputed power-of-attorney from the participant. Id. at *1-3. The Court fails
 to see how this case supports United’s position, as the facts and relationships of the
 relevant parties in Bunton are completely distinguishable from the present situation.

       Other cases at least intimate that an equitable lien by agreement under these
 circumstances would spring only from a valid assignment. See, e.g., See Int’l
 Longshore & Warehouse Union-Pac. Mar. Ass’n Welfare Plan Bd. of Trustees v. S.
 Gate Ambulatory Surgery Ctr., LLC, 2012 WL 4364567 (N.D. Cal. Sept. 24, 2012)
 (evaluating whether anti-assignment clause precluded equitable lien by agreement,
 though “not reach[ing] other theories of equitable relief, such as constructive trust, nor
 address[ing] other elements required for a lien by agreement”).

       Consequently, in situations where no valid assignment exists, the Court
 concludes that United cannot assert an equitable lien by agreement. Moreover,
 although the Court does not presently address specifics, the Court notes that it is
 inconsistent for United to assert particular assignments in this action while asserting
 any corresponding anti-assignment clauses for the same plan during the same time
 period in the related Almont action, Case No. CV 14-2139-MWF (VBKx).

                     b. Bilyeu and Recovery of a Particular Fund

        In Bilyeu, the Ninth Circuit expressed doubt as to whether the case before it,
 involving recovery of overpayments pursuant to a contractual reimbursement clause,
 satisfied the second prong of the test laid out above. Bilyeu, 683 F.3d at 1093-94.
 There, the relevant agreement provided that the participant would reimburse the claims
 administrator “any overpayment resulting from [her] receipt of benefits from other
 sources.” Id. at 1090. The claims administrator argued that once the plan participant
 received a third-party recovery (Social Security disability benefits), a specifically
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 identifiable fund (overpaid disability benefits under the plan) came into existence and
 an equitable lien over the fund was appropriate. Id. at 1093. The Ninth Circuit found
 this characterization “plausible, but problematic,” and distinguished the tort recovery
 in Sereboff, noting that the overpaid benefits, unlike the tort recovery, were “not a
 particular fund, but a specific amount of money encompassed within a particular fund.”
 Id. (emphasis in original). The court went on to note that the reimbursement
 agreement would have skirted these same issues if it had identified the third party
 recovery, rather than the overpayments, as the fund from which reimbursement would
 be sought; though, this was not feasible in Bilyeu because the third-party recovery
 consisted of Social Security benefits, which are unalienable. Id. at 1093-94.
 Ultimately, the Bilyeu court stated that “[e]ven assuming” the second criterion of the
 test could be satisfied in that case, the third could not. Id. at 1094.

       Here, in connection with the second Bilyeu prong, United notes the Court’s prior
 conclusion that “United could recover only in situations in which the entire
 overpayment made to the Providers was inappropriate,” and requests that the Court
 reconsider this ruling, noting that “Bilyeu did not demand (even in dicta) such a result,
 and such a conclusion is inconsistent with the Supreme Court’s decision in Sereboff.”
 (Id. at 21 n. 20 (citations omitted)). Providers, likewise, argue that “[t]he distinction
 between an ‘entire payment’ and a partial overpayment (SACC ¶ 515) is irrelevant
 under Ninth Circuit law.” (Mot. at 25).

      The Court recognizes that Bilyeu has been disagreed with based on its “fund”
 discussion. The Second Circuit, in particular, has observed:

              . . . Aetna seeks a specific portion (all) of a particular fund (the
              subset of disability benefits that became overpayments when
              Thurber received no-fault insurance benefits). Not surprisingly,
              these overpayments were not segregated from the total
              disability payments. The Ninth Circuit recently held that an
              action for the return of “overpaid long-term disability benefits”
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             does not seek “a particular fund, but a specific amount of
             money encompassed within a particular fund—the long-term
             disability benefits [the insurer] paid to [the beneficiary].”
             Bilyeu, 683 F.3d at 1093 (emphases in original). But the
             beneficiary’s literal segregation of funds is irrelevant when the
             terms of the ERISA plan “put [the beneficiary] on notice that
             she would be required to reimburse [the insurer] for an amount
             equal to what she might get from” third-party sources. Cusson,
             592 F.3d at 231.

             We do not see a basis for distinguishing between certain
             “funds” identified by ERISA plans—i.e., between “third-party
             recoveries” and benefits that become “overpayments” as a
             result of third-party recoveries. Both constitute particular,
             identifiable sums over which an insurer may assert an equitable
             lien authorized by its plan. For this reason, we take issue with
             the Ninth Circuit’s view that the “particular fund”
             (overpayments) sought lacks sufficient specificity by virtue of
             being an “undifferentiated component of a larger fund” (total
             benefits). Bilyeu, 683 F.3d at 1093.

 Thurber v. Aetna Life Ins. Co., 712 F.3d 654, 663-64 (2d Cir. 2013).

        Notwithstanding such disagreement, the Court is bound by the reasoning of
 Bilyeu. The Court has reevaluated Bilyeu in light of the parties’ arguments and the
 recent Ninth Circuit decision in OTET, which discussed Bilyeu’s holdings, and once
 again concludes that United’s allegations fail to meet the second prong of Bilyeu. To
 the extent that the relevant agreements here contain recoupment provisions regarding
 overpayments (distinct from any third-party recoveries which would not be applicable
 to the type of provision asserted here), Bilyeu forecloses classification of such
 overpayments as a specifically identifiable fund for purposes of an equitable lien by
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 agreement. Just like in in Bilyeu, the overpayments are “undifferentiated component of
 a larger fund,” and are thus not recoverable under the equitable lien by agreement
 theory. The Court notes that it does not have the precise plan language of each
 relevant plan before it at present (in line with its prior discussion); however, it reaches
 this conclusion on the basis of allegations such as those in SACC ¶ 504 (“The ERISA
 Plans in question typically include language requiring that any overpayments that are
 made to patients, or (on their behalf) to providers must be returned”), which the Court
 has considered in its earlier analysis regarding recoupment provisions.

        United’s reliance on Sereboff is unavailing. While it is true, as United points
 out, that the Sereboff claimant sought to recover $74,869 from a settlement fund of
 $750,000, the Supreme Court noted that the sought portion was separated from the
 aggregate amount. Sereboff, 547 U.S. at 360. Indeed, the Court specifically noted that
 at issue was a specifically identifiable “portion of the tort settlement due Mid Atlantic
 under the terms of the ERISA plan, set aside and preserved in the Sereboffs’
 investment accounts.” Id. at 363 (internal quotations omitted). As such, the Court is
 compelled to follow Bilyeu’s reasoning and conclude that United may not impose an
 equitable lien on the alleged overpayments.

              3. Constructive Trust

       Despite the deficiencies in its equitable lien theory, United seeks to establish a
 constructive trust in order to remedy Providers’ alleged wrongdoing. Providers argue,
 however, that a constructive trust remedy is appropriate only when “there has been a
 breach of fiduciary duty and an ‘ill-gotten’ gain.” (Mot. at 25 (quoting Reynolds
 Metals Co. v. Ellis, 202 F.3d 1246, 1248 (9th Cir. 2000) (internal quotation marks
 omitted)). And, according to Providers, “[e]ven if a constructive trust can be asserted
 against [them], the SACC fails to plead how their behavior was ‘wrongful under the
 terms of [each] relevant group plan.’” (Id. (citing SACC ¶ 515)).



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        United, in contrast, contends that “[a] constructive trust is an equitable remedy
 under which the court orders that identified funds be held in equitable trust, to be
 returned to the plaintiff.” (Opp. at 22 (citing Great-West Life & Annuity Ins. Co., 534
 U.S. at 213-14)). United asserts that “Providers seek to dismiss this claim by arguing
 that a constructive trust can be imposed only on ‘ill-gotten gains,’ but that is exactly
 what United alleges here.” (Id.). Further, United argues that “since Sereboff, courts
 have recognized that the imposition of a ‘constructive trust’ no longer requires a
 showing of fraud or wrongdoing.” (Id. at 23 (citing Aetna Life Ins. Co. ex rel. Lehman
 Bros. Holdings, Inc. v. Kohler, 2011 WL 5321005, at *6 (N.D. Cal. Nov. 2, 2011)).

        Finally, United contends that “the remedy of constructive trust is not limited to
 situations in which the entire payment made to the Providers was wrongful” and asserts
 that, “[r]ather, Courts have regularly imposed constructive trusts over a share of a
 larger piece of property—even when the property appears indivisible—so long as the
 correct ‘share’ of the fund can be identified.” (Id. (citing Great-West Life & Annuity
 Ins. Co., 534 U.S. at 213-14)). Therefore, United argues that “because the SACC has
 properly identified the ‘sums’ that were wrongfully paid to the Providers, it can seek a
 constructive trust, notwithstanding that those payments may have been included along
 with some proper payments.” (Id.).

        In Bilyeu, equitable lien by agreement was the only form of equitable relief
 asserted by the claims administrator. Bilyeu, 683F.3d at 1086. In the past, the Ninth
 Circuit discussed that “restitution as used in § 1132(a)(3), means ‘ill-gotten gains,’”
 and has construed “ill-gotten gains to mean money obtained through ‘fraud or
 wrongdoing.’” Cement Masons Health and Welfare Trust Fund for Northern Cali. v.
 Stone, 197 F.3d 1003, 1006-07 (9th Cir. 1999) (citations omitted) (discussing that a
 participant’s obligation under the terms of a plan to reimburse trust fund in event of
 third-party recovery did not render money previously paid by trust fund “ill-gotten
 gains” subject to § 1132(a)(3) restitution); Nw. Adm’rs, Inc. v. Cutter, 328 F. App’x
 577, 578 (9th Cir. 2009) ( “Relief under ERISA is available where the defendant
 ‘actively and deliberately’ misleads the plaintiff to the plaintiff’s detriment.”). In
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 Shereboff, however, the Supreme Court permitted equitable relief even when nothing
 in the record indicated that the sought reimbursement was obtained through “fraud or
 wrongdoing.” Sereboff, 547 U.S. at 360-61. Since then, multiple courts have
 dispensed with the “ill-gotten gains” requirement when determining whether equitable
 relief is proper under ERISA. See Mairena v. Enter. Rent-A-Car Hosp. Ins. Plan, No.
 C09-4420, 2010 WL 3931098, at *9 (N.D. Cal. Oct. 6, 2010) (“Plaintiff has not cited
 any authority after Sereboff indicating that the plan fiduciary must also establish fraud
 or wrongdoing in order to create a constructive trust or equitable lien by agreement.
 Thus, Defendants' allegations are sufficient to state an actionable claim under
 Sereboff.”); Aetna Life Ins. Co. ex rel. Lehman Bros. Holdings v. Kohler, No. C 11-
 0439 CW, 2011 WL 5321005, at *6 (N.D. Cal. Nov. 2, 2011) (“[E]ach of these cases
 [requiring a showing of fraud or wrongdoing] predates the Supreme Court's holding in
 Sereboff, wherein the Court imposed an equitable lien in circumstances almost
 identical to those here and did not require a showing of fraud or wrongdoing.”).

        In light of these principles, the Court concludes that United has made adequate
 allegations to support the imposition of a constructive trust to recover purported
 overpayments. First, the SACC largely does allege fraud and wrongdoing necessary
 for equitable relief under the pre-Sereboff cases. Although in Providers’ view, “the
 SACC fails to plead how their behavior was ‘wrongful under the terms of [each]
 relevant group plan” (Mot. at 25 (citing SACC ¶ 515)), the Court reads the SACC’s
 myriad allegations of fraud as sufficient to warrant a constructive trust for any
 wrongful overpayments. And to the extent United seeks to recover excess charges
 even when Providers did not “knowingly and intentionally submit false or inflated bills
 to United” (SACC ¶ 509), a constructive trust may be plausibly imposed under
 Sereboff and its progeny that has dispensed with the “ill-gotten gains” requirement.

       Providers offer virtually no other reasons, and certainly no compelling reasons,
 to dismiss United’s constructive trust allegations. As the Court already determined, the
 SACC contains adequate tracing allegations, the merits of which are not properly
 decided at this stage of the litigation. The Court, moreover, is presented with no basis
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 for extending Bilyeu’s discussion of equitable liens by agreement and “particular
 funds” to the separate context of constructive trusts. Imposing a constructive trust on
 overpayments contained in specific accounts —or property purchased with the
 overpayments—would not transform a quintessentially equitable relief into a legal one
 because Providers’ general assets would be left untouched. That is so even if the
 sought money is a part of a larger fund maintained in Providers’ account.
 Consequently, the SACC adequately satisfies the equitable relief requirement of §
 502(a)(3).

              4. Separate Declaratory or Injunctive Relief

        Finally, Providers argue that “United has not alleged any independent form of
 relief under its Seventh Cause of Action under ERISA.” (Mot. at 25). Providers also
 assert that “United also asks for a ‘set off’ of amounts ‘improperly received,’ but fails
 to explain how, in equity, amounts allegedly due to one ERISA plan can be set off
 against sums due to the Providers under different ERISA plans.” (Id. citing SACC ¶
 521)). Finally, Providers contend that “United’s request for an injunction to enjoin
 Plaintiffs to seek the benefits to which they are entitled under ERISA clearly falls into
 the category of legal, not equitable relief. In essence, it seeks a determination of
 benefits under Section 502(a)(1)(B) – a cause of action that cannot be asserted by a
 fiduciary.” (Reply at 25).

        United, however, contends that Providers “fail to cite a single case where a court
 has held that injunctive or declaratory relief that United seeks—including an injunction
 precluding a party from submitting fraudulent claims—would be inappropriate under
 ERISA § 502(a)(3).” (Opp. at 25). United further argues that “their fact dispute as to
 the scope of United’s recovery is not amenable to resolution on a Rule 12 motion.”
 (Id.).

       Neither party has cited any caselaw in support of their relative positions.

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       First, the Court views United’s allegations as requesting set-off only as between
 the amounts allegedly owed and improperly paid out by each particular plan.

        Second, United’s sought relief is not legal, as Providers would have it. United
 essentially seeks an order enjoining Providers from “billing United for amounts for
 which the Counterclaim Defendants had indicated they would waive Member
 Responsibility Amounts or otherwise accept payments from United or the Plans as full
 compensation for their services,” or “billing United/the ERISA Plans for amounts
 which do not reflect the failure to collect Member Responsibility Amounts that are in
 violation of any plan terms or provisions, or that in any other way artificially inflate
 amounts,” and “injunctive relief precluding the Counterclaim Defendants from
 profiting from their promise to waive Member Responsibility Amounts, or from
 seeking to recover sums that would be inconsistent with those promises.” (SACC ¶¶
 523-24). The Court does not consider these “request[s] for an injunction to enjoin
 Plaintiffs to seek the benefits to which they are entitled under ERISA.” Whether the
 relief might otherwise be improper pursuant to § 502(a)(3), Providers have not argued
 and the Court does not address.

        Further, the Court disagrees that United has failed to seek any form of
 independent relief under its Seventh Cause of Action. An injunction described above,
 for instance, is obviously distinct from a constructive trust or equitable lien imposed on
 specific overpayments. The Court therefore declines to dismiss United’s seventh claim
 for relief.

 III.   CONCLUSION

        For the foregoing reasons, the Court DISMISSES with prejudice United’s
 second claim for relief insofar it seeks to recover on behalf of self-funded plans. In all
 other respects, the Motion is DENIED.



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         Providers are ORDERED to file an answer to the SACC on or before
 November 20, 2015. An answer may be submitted jointly with any of the
 Counterclaim Defendants. It will not be necessary to admit or deny each claim line
 listed in Appendix I. The Court will deem any explicit or implicit allegation in
 Appendix I to be denied.

       IT IS SO ORDERED.




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